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TITLE OF CASE

UNITED STs ATES OF AMERICA __

Se?

. “FALLBROOK. PUBLIC UTILITY DISTRICT |

a public Service. corporati on: of the ,State | OtNelveny & Myers tor
of California we OS ema Mary. Vail; “Wilkinson,
SANTA MARGARITA MUTUAL WATER ‘COMPANY, ce oe at = Yai ° Baw NM Vad’
a public service corpora tion of the State ae “Marearet Vail Wise & Nit;

‘of California... C0 eT Me “Wally TT

VAIL COMPANY, & corporation, ‘MARY VAIL — ak De-TLans

WILKINSON ‘MAHLON: VAIL, EDWARD .N. VAIL, . ° -- for = . nen
MARGARET VAIL WISH ana NITA-N, VAIL, Trustees, “Zor Bile leaker re 3: _Dubne2 .

“PRATT MUTUAL WATER COMPANY, a corporation,
and H.S, PRATT, DON c. PORTER and FLORENCE
CLEMENS’
‘ERNEST LOUIS BARBEY, SSSIZ BEULAH BARBEY
JAMES OVIATT, ANNIE 3, BERGMAN, AvKedey
va, E, BERGMAN, HAROLD BRINKEROFY, HILDESARD 0 —————— SS =.
: B, DUBNER, ALA. EH, B, DUBNER, EDWARD F. . -FENDANT’S ACCOUNT 7 RECEIVEN - DISBURSED
— MRRELL, JOHN C. TYLER, JOHN’ H. RICHIE, TTP Pf? 2
- MARIE Le RICHIE, PRANK L. JOHNSON, NeLe se
‘LOWMAN, J.C. PATTEN, WILLIAM W. COTTLE, -
KATHERINEC, GIBBONS, JOHN BARTON, IRE ENE
BARTON, O: Ay BERGMAN, ‘JAMES F, BERGMAN, 0 Sea pa 7
MINNIE BERGMAN, PRINK'A, PAYNE. DORIB A) pd cies Le
(PAYNE, UADELIBNE CHUSBUR, skh FELLER, RUTH ni) ec |
WENTWORTH, AH. BUCKLEY, “DOWNTOWN PROPERTIES, = at LA 7 se -e
“INC., A CORECRATION, ERNEST P, BURLEY, FRANK _
CAPRA, A. F, BOREL, FELIX, R. GARNS EY, ISRAEL © g. gun re Peale,
WANETICK and JAIME PORTENY, VICTORIA M. SEE I
“BARNES and FLORA COX, VICTORIA M. TOOK, _ _ ue
-EVERT L, BARNEY, RUTH =. BARRE, HAREIET? - Ce op
PAYNE, E. H. HEYDEUREICH, D. G. VEAZEY,A. V. so —
‘STUDER, H. ER. TAYLOR, H. MeSHOSSEIN, MKS. es ! je
GUS WEBER, M.M, LLOYD and =. M. LLOYD, CA. |
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“BASIS OF ACTION: —

Compl. for water’ rights

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David Y. Miller,

RECEIPTS, REMARKS, ETC.

. Lt., U.S.N., Legal Officer
: Office of Ground Water

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Special Master: ~
John M. Cranston,
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i/ee/5i | Pld Ansyer aft Irene Berton,
— 2/26/51 \FPld Anewer aft J. C. Patten,
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Marzarita Mutual Water Co, to dismiss; to.strik
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dfts Carl ", Olesen, Christine Marie Olsen, _
Harry I, & Mabel B, Field, Edward G. & Lottje L
Helms, Parl D & Olive M Mortz, Robert L. & Frank
A, Freeman & Norman Freeman, Herman C. & Alma Cj] Pane
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& moreder stmt cozether with mama of auths in sup
thersof, . Fla mot.& not of mot ratble.5/9/51, ldam
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2! nic A. & Hovme J. Freeman,”
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extendas time 20 deys fr 5/9/51 in which to
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6/3/52. in which dft James Oviatt may ans compl

ld. ANSWER: afte Richard We & Mildred C. Callawa a

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6ST IPL “cube sh ‘of attys for dfts' erren substg We Bl
> oe, aro Es :
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Yennis. Esa. in place & stead of. C, T, Vineant &

nA :
Merton G, Wray, Esas,

6/5/S1 iPld ANSWER of dft James Oviatt.

6/11/51 | Fla ANSWER of aft Verlie L, Bayle to compl,
6/12/51) Pla ANSWERS OF FOLLOWING DFTSioo- .
Fredk W & Aa die. ‘J Yresse;

-Tneodore F & Janice B Jennings;

Carolina Lythner; Thos H & Dora M Crego;
Harry 0 & Mabel B Field; —

Leon F Ludgate. & Tacy W Ludgate; os

Paul P & Daisy P Yakes; K I & Eulilla Mart tin;

Wm F & Bertie B Benes; 6 OG & Viva Hanes;
W B Haney; Laura Howell Traylor;
D H, Vesta I, & Glenn © Bullock;

Santa Margerite Mutual Water Co, a corp;
Mark & Margaret Laurette Gallacher;
Felix R & Theodora L Garnsey;

A F & Louise Borel; Ruth Wentworth;

| Ernest Louis & Essie Buelah Barbey
_Fld mot of dfts: Pr ratt Mutual Water Co, et al, for

a oh CRVENSTON Of tine for certain_dfts_to_ans, id
- oré extendg time 20 days in which said dfts may answer,
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op been ay: —
EDGE Pld ANSWERS OF FOLLOWING “DFTS:.

i Bdward G. ‘& Lottie “Le. Helms, ..° |

Be &s Alma 6 C, Pankenten,

. nik A
8 _gthel. L, Russell. oe al
paren Fld ANSWER of £ Fallbrook Pub 8ta1 Diet Flaustin”
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& ord thereon. extendg time 20 days fr 5/9/51 in
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oes 6/8/5u in which aft Janes Oviatt may ans compl
a9 /51 IE Fld ANSWER afte Richard W. & Mildred C. Callaway.

G/L La: subs: thio? attys'for dftes Warren abate w Bl step =

2 ABrren si
‘Demis, Esq, in place & stead of 6, T. Vincent 4
Merton .G, Wray, Esas,.

‘5/51 Fla ANSWER of aft James Oviatt.
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/1$/51 Fla ANSWERS GF FOLLOWING DETSin--

Fredk W'& Addie J Fresse;
Theodore F & Janice 5B Jennings;:

| Caroling Lythner; Thos KH & Dora M Crego;
Karry © & Mabel B Field; oS

[Leon F Ludgate @ Tacy W Ludgate;

“Paul P & Daisy P-Yakes; K I & Eulilla Martin;

Wo F & Bertie B Hanes: C 0 & Viva Hanes;
‘WB Haney; Laura Howell Traylcr;

DH, Vesta I, & Glenn C Bullock;

Santa Margarita Mutual Water Co, a corp;
Mark & Margaret Laurette Gallacher;
Felix R.& Theodora L Garnsey;_

A ¥ & Louise Borel; Ruth Wentworth; -

Ernest Louis & Essie Buelah Rarbey
Fld mot. of ‘dfts Pratt Kutual Water Co, et -al

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& Lura : G, Mosher

<.., [Bennie Fe.
Helen:

a Ritred Holéworth_

Zade'&"Gerthude : AS “Green -

“John. CS &

Chloe Ly “Baxter.

~"|Ghass BE. & Dora ‘Stubblefield,

~ |Pratt Mutual- Water C, & &H, 8,. Pratt & Don. o. Porter

“lArthur’ R,

Merickle & Georgie ty:Merickle.

-{Pld,: mot;

of dfts, (12) James. C, Aldrich, et al}

“lfor extension of. time for cert, dftes. to ans, -

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extendg, time 20 days from date hereof.

in which dfts, may ans. Fla ANSWER of dfts. Daniel

K, .&. Lucy

F,. Smyth, ‘Stephen AL & Nan F, Seaton,

- |Stephen aA.

‘Seaton, Srey Wm. A, & Mary Bernice

IMA beheld”

Wm, TS “G4lliland, Grace I,: “Gilliland,

Wm. Donald & Marie E, Edwards.

Fld. stip. & ord, thereon extendz. ime “ts &

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incldg. 8/10/51. in which aft, Vruwink may ans,

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Fld, ANSWER of dfts. Robert.N, & Grace L, Morse..

Pid, ANSWE

Roof Mary , Hubbard, aka, Mary E.

Hubbard. .

Fld, ANSWER of John.M. & Edna G, Faeth..

FLD, ANSWERS OF | FOLLOWING DEFTS, --~—

Tea

| Gertrude Johnson, -

Gust. A, Johnson

2

Geo, M, Francis & Margarete Francis,

|Harriet W,

Derby,

Wm, V. Yerby, oo : - |

|Ethel M, & Lauren D. Bolton,

Fellbrook

Builders, Inc. ,

Gao. WL &

Sonhia N.. Fenson,

' | Delbert dugnes,

Lawrence A, & Nell a. Lenfers,

a

Donelda F, Hnghes,
«1/17/54 | FLD, ANSWERS OF FOLLOWING DIFTS----~
Marie £, &.1 vin, RK, Hopkins,

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vonald Ry,

wollacner,

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Geo.

& “Sarah. Jane Srahan,

~ Nepman LeRoy Sutton,

Charles. oC; Rowe,

panels: AS “Jenewein. Liss vy :
Virgina May Jenewein, oe

VP BLsie My

Hassler. &. Floyd W. Hassler,"

\Editnh J,-

‘rover &: Ellis R, Grover,

‘| Naomt, ‘Mary Grantham,

Mary) =, Golden,

Sarah M,

“Gladding,

Mildred N.

Gladding,

| James Edward Gladding, —

| Wm. T..& Ruby 6. Blacklidge,

“Elliott. gq, & Mamie A, Stuart,
Maude Hecock,

[Berry L.

“& Mary A, Hecock,

Kida. ANSWER of aft.

Clarence 3 Lillian M, Jas

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Fld, ANSWE

ER of dft,. Elizabeth & Helen I, Houston

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FLD. ANSWERS OF FOLLOWING DFTS, $#~---_

Fallbrook Union High School District,

Shor C, Hansen,

Willard Ferens Grevatt,

Helen Louise Grevatt,.

FLD. ANSWERS OF

FOLLOWING DFTS, :---

'/20/52

Ethel Galloway

Loren H, Galloway,
Velma M, Hawn,

Mrs,

Ora Patton,

Theodosia I, Kolb,

‘Mary A. Ludy,

—-Herold—W.—Gritfith-

Heary 0, Griffith,

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“Camille H. Roesch,
“George E. Roesch.’ int OS

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“Tn edged Answer of State of Calif. , Intervener. .

- |FLD. ANSWERS OF FOLLOWING DFTS,:--— a
- |Bertha | Sterling & Lloyd. Sterling, deceased,
|Floyd ¢,.& Grace M, Walker,
_ |Geo. S. & Hilda KR, Buttress, -
Raymond L, Jack, ot
. [Isabelle B, Jack, :
. Florence H, Patten, Martha E. _Hibbe & | Winifred ]
-|Alice. By: _Long, .
“|Ted RB. ‘Yagle;
Richard R, “Fiala,
_ (Charlotte Flo &: Raymon 1d G. Faulkner,
(Bessie H. & Ralph 5. Tracy, |
-JAda Belle & Roy 0. Solso,
—j&lice W, Smith,
‘j#rthur A. Sample,
Chas, £, & Mabel Hafferty,
Orionna F, Mattfieid,|
Theodore C, Mattfield,
Hazel & Verne B, Martin,
_|Rarold R, Manr,
Paul F, Loxskridge & Lucille. O,. Lockridze ,
Opal -R,.Lineoln & Rober t A. Lincoln, -
Allene: King,
Earl E, & Marton V, Johnson,
Earl O. & Lula M, Hedrick,
Clirf H, Haselwood & Rana D. Haselwood,
H, Usuise Garland, oo fo a
|Edna Rhedes & Roy Hhodes, .
Merthe & Wm, S, Fleshman,
Ble sie Farner & Wm, R. Farmer,
Minifres Mary & «Henry Bullets, Po :

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|Mildred. W. Keown,

oe, Wiariella Busenbure,
“‘iGlentie G. Howard,
Birdie M, Howard,

5 Were Lewis Johnson, -

7/24/52 FLD.. ANSWERS OF FOLLOWING DFTS, :-~-
Murray S. & Frances M. Johnston, husband &-wife
‘|Murray 3. Johnston & Mrs. Mabel Le Jonns ton, son & mother,
Alexandra Ghika, nt me
_|Vietor B.& Frances M. Westfall, ee husband &| wife’
[Gilbert R. Van Dyke,
Frank L. Little,.

FLD. ANSWERS oF FOLLOWING ‘DFTs, teen
TSean Good,

Hazel Summit & Lloyd. G. Qualls,

-|Clara E. Mac Donald,

Hallie E, Ferrell,

[Marion Etta Gardner,

Mabel A. Parks, .

Fld. substn. of attys., substg, G. V..WEIKERT,

Eds. in place & stead of Cosgrove, Cramer,

ether & Rindge, B5dSe as attys. for aft. Janes

Oviatt, :

Fld ANSWERS of dfts, tollowiag: Francis P,
af." | Parkinson; Lorene N, St, James; Crystal S,. &

ae Richard ¢, ‘Fisher, ‘Fld. prae. U. 3, Atty, &

“ised. sums, Fla, ANSWERS of following dfts:

Charles F, Leyhe; Marjorie W. Leyhe; Roy_N.

Herrell; .Mary R. Herrell. . . ee

jFld. affid of svce, of State of Calif. of

mot. to intervene. __(Jandiy eune7q) volSay sytoeg
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PLAINTIFF DEFENDANT

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FLD.. ANSWERS OF FOLLOWING DFTS, t=.

“IE C. &. Josephine HY Reader,

 }Luetta M. Graffin,

Hayward Lor. & Inv. Co., a corp.

pee poa|

Fla. ANSWER aft. Hayward Lumber & Investat. Co. |.

227/51

-|Rex L, & Lois E. Loop,

FLD, ANSWERS OF FOLLOWING DFTS,i==

(MSM, & ELM, Lloyd, °

Haler F. & Ruth B,. Jones,.

Edward L.-& Eunice Forayth, & Eleanor Forayth Suima,|

James G,.& Mary E, Aldrich,

Robert T..& Jane P, Gray.

1/30/52

FLD. ‘ANSWERS ‘OF. FOLLOWING. DPTS, jn-=
|Etto G. Hamilton:,

__ [Ruth A. _& Wm. Hy Hitt,

‘lVee McCormick Lewis,

J. OM, Sholl Lewis,

Wn. V. & Harriett 7, Derby,

Fld. ANSWBR of dft. Nellie M, Hamilton. Fld.

Harriett McCartney Platt McCartney: ‘& Orris McCartney.

ANSWER of dft., E, W. Hamilton.

FLD, ANSWERS OF FOLLOWING DFTs, :--

Marguerite Kirk;

Lawrence Kirk;

Neola CG. McTavish;

Earl E, MoTavish,;

é/2/5l |Fld. ANSWER or drt, JOHN A. HAMPTON,
Fld. ANSWER of aft, BESSIE P. HAMPTON,” by
S/4/51 |Fld ANSWER of dfts, Howard WY. & Alla M. Robinsoh. .
Fld. ANSWER of afte. Geno L, & Louise RB. Somacal. ! .
2/7/51. |Pla, ANSWERS of followlne dftsie-
Anita M. & Wm, liyholt; i |
Dellamore D, Cargile; ! |
Merousrite ¢, Cargile; |
3/o/Si_ |Pla, ANSWERS of following dfts.i--- | :

‘Jo hn 9, & Kat: een M, Moon;

Time oF we Wine beamiin Vw dw weemana

a“ cio ease 3: 3:51.cv.01247. JO: SBC ‘Bogument 1 Fie oygsisi' ‘Pagelb. 14” Page i4 ores ne

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EMOLUMENT .
RETURNS ..

Fld. ANSWERS of following dfts.i--- .

lRobert Lb, —& Saranda H, Miller}.

‘(Geneva B. & W.-H.. Nicholas;

das. Mo -& Ida M,. Lackey; -

v|Jesste Me L wJessonp

“lwo. AJ & Ruth No James:

“Albert A; & Sarah James; ~

Mildred Pearl & Rolly Lawrence Knowles
Alice Ly & 0. ‘Pp, Heald;

-\Fallbrook Lor. Co. ’

Katherine & Wm..C. Madley;-

Jas. G. & Margaret Ann beatni

R. C. Gracey;.

Beatrice McDonala & Orville J. NeDonala;
2. H,.& Lottie Mae McAnear; _

(Lillien J. & Robert 3, Hodge;

“ID, L. & Eva Hollowell:

Bessie Coyle Meredith; |

Myrtis Myers & S. CG, Myers:

\John -B, & Penelope OC. Kentis;

|Theo, H. Munckee ;

Flora L.. Flasch;

Edward H, Flasch:,

8/13/51

Fld. ANSWERS of following Dfts,:~~

_|Beatrice Fuller;

Wm. Henry Fuller;

John Tomaszewski;

Miranda Tomaszewski;

Aridrew Mesa:

éA4/5I

Fld, ANSWER of Drt. Thomas K, Kenney. -Fld, ANSWER.

of Dft. Ruth W. Kenney. Fld. Stip. that Mot. of

State of Calif. for leave to intervene may be

ranted w/o,.objec, from Plf, herein,

$/15/51

Fld. Ord, granting FPeornle of the Ptate of Calif

leave to intervene as Dfts. herein & proposed Ar

hawer.

Le

htt. lodged herein 7/27/51 may be fld, Fila, or

=

ANSWER—of-Peovle-of-State—of— —Calit:

1 7 Qu
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EN SWER of Dft. Dominga PanSglastgennea, FL

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Sz CONTINUASTON Sheer pe Pur saatysry TeUONCN oq) JO SOUP LOY ayy TH

| EEL

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Ad cIViL:

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‘Case 3: 51. “CV- 01247: JO- SBC Document 1 Filed 01/25/51 PagelD. 15. ‘Page 15 of 68.

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‘ "PLAINTIFF ,

»' DEFENDANT.: .
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art: Ww. ‘Madison Taylor,

Fld. ANSWER of Drt. ts

IG, “Taylor.

Fld, _ANSWER of. Dft.. Hertha E.

Morefield.

Fla. ANSWER of Dft. Maria T. ‘Selvatierra. 1

lof Dfrt, -Pedre:T,. ‘Salvatierra,” ~

Hugh G, & ‘Eva J: Hawkins;

FLD. ANSWER OF FOLLOWING. DFTS,’ te- Li F. & yaoi

_- ‘Andrew P.' & Frances L. Davidson; |:

veetens

__|Lemusl & Lallian: Sonmerville;:

‘|Hazel: M. & Henry...

‘Irvin Geo, Dunker;

Robert W. Raymond;

Carrie Lee Summit; -

-. [Arthur A. Sample;

“lwm, Thos. Summit;

‘lGeo,E. King;

i{Walsie G. Thompson; -

‘Louis C, Thomps;

Ruth Lillie;

|Thomae E. Morris;

{Nellie M,

Nichols; |

W. Horace Hanson & Bernadean Haneon;

Sugustine & Frances M. Fredy;

Helen M, Eterelin & Jack B. Eberlein;

Irene J, McManigill;

Fred & Sybil Masheeco;

Pedro N. Salvatisrra...

Wis,

ANSWER of Dft, Arthur

Fis, ANSWER of Det, :?
Pld. ANSWER of ea

8/27/52

Fld. ANSWER of each of the Following Dfte.i-~

Harry V. Smith;

Howard N. Farmer;

Hildegari T, Farmer;

” “ eo _

hiram a se

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nate . FILINGS--PROGEEDINGS | EMOLUMENT
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f Conm mY . oy,
Sout wtT

 g/27/51- Patricia N. Parshall; _

Hugh | ‘R. Parshall, SP.

|) Zane A. ‘Royal, a Ds Moet

Fld, Mot. of P1lf, to include Addl. Partie:

“[Fl4. Ord. to include aadl, Parties-Dr

"Pras. U.S. Atty, © Teed, Sums.5

“ $/29/52 |PLé:

Mv. S
- Pla. Ord. to

f FLL, to include Adal. Partie
tneluae adl,. Parti es Dt.

.-|Plé@.. Prae., U.S. Atty. & Ised, Sums.

Fla. ANSWER of Drt, N. W.. Tomlin,’

1 oget

6/30/51 Fld, ANSWER of Henry H. Scott & Lois. Scott; Fla.
| (ANSWER of Dorie G, Rarick sued as Doe 629 & of | -

Geyer R, Rarick sued as Doe 830,

FLD. ANSWER OF DFT:

9 fifei

Kenneth Homer Gage;

’\Florence Stonebreaker, widow of James Addison

JStonebreaker, deceased;| + |

Barbara B. McMillan; 9 9° 7 PP OES ag te

na ep pt a te

Cathryn L. Holcomb.

/5/51

Flac. Mot. of Plf. for Ord, to Include Addl, Parties Dft! &.

Ord. thereon Grantg, Fld. Prae. U.S. Atty. &

|tesd. Sums. FLD, ANSWER OF DFT;

Charles G, Hamilton:

|Lillie M, Hamilton;

Grace A, McGarvir,

9/11/51|FLD. ANSWER OF DFT, :--

Phil M, Doughty;

|Ralph C.:-& Mary A. Fisher;

Bianca Inhelder;

Wm, Inhelder;

CG, Thoreson & Gladys M, Thoreson;

Victoria Ohngren; |

Coralee & T. G, Summit;
|D. & Ethel H, Ransom;

Join D, & Esther H. Henry;

Catalina L. Miranda;

Terence S, & Marthe 8. Kirk;

jLulea Perigo;

Howerd MeMenigill;

Gansint sunse3) yoriay auton z

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“| PLAINTIFF |. DEFENDANT |. | RETURNS

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COUNT ae 7

9/11/51 |FLD. “ANSWER OF DFT,:-- -
, [Effie M, & L.: EE, Sauble; .

_ |Blsie M, & John H, ‘Payne;

oe (Louise M.. of Rourke... :

9/12/51 |FLD. ANSWER OF DFT, :-— 0s.

}O. Lester & Maude A.’ Riggles-

Harland L, & Doris G. Stryson; °....

 |Prederic BE. & Helen D, Stokes; iE rec

9/13/51 Fld. Answer of Carl Darwin, ‘sued as Doe 367 & e fiied
_.__ ANSWER of Juanita Ceyce ‘Darwin. sued as Doe 268)

9/19/51 |Fld. ANSWER of Dft, Wanda L. Rice,

9/2G/51 |Fld, ANSWER of Dft. Wanda-L. Rice. .

9/21/51 |FLD, ANSWER OF DFT. :---
- Geo, D, Hepburn; oo

Florence J; Hepburn: |

Neal A, Bedell;

Madge M, Bedell;

G. Bruce Hunt;

Pearl R. Hunt;

. Mary L. Giles, oe
g/2u/51 Fld, ANSWER of Dfts. Harold A. Fendler &. Mirtan

O,Fendler, FLD. _ANSWER OF DFT, :---

Norman -W,.Matzinger; |

Gladys I. Matzinger;
Clarence Contreras;

Clara Marie Contreras;

Max M, Henders

n & Aurelie &, Heriderson:
QD

“tees SLeanor— Heese rs

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wo fe PLAINTIFF "| .DEFENDANT RETURNS

-(-CONT1D,}- a
9/2/51 | FLD. ANSWER OF DA ia-

Tia L, Moore;

cA. R. “Ashman; or

“| Jack KR, & Dorsey W; Ragland;

Dorothy A. Fisher;

Mattison D. Allman & Helen’ Hyder’ Alea

Zohn C. Fisher; cl

rthur H. & Eliz. G. Ruddy;

TGerarade A, Jego & Herbert E. Jago;..

Wn, Brunsden Appleford, |

Homer M, Fletcher & Eliz. ate toners 2

FLD. ANSWER OF. DPT. to-= =

9/25/54 FLD.

fudelph Cimperman;

stella H. Cimperman;

Howard B. Morefield,

Fld. ANSWER of Olga 0. Anderson.

9/26/51

Flé,. ANSWER of Drs. Rilla M, Mooney,

Fld, ANSWER of Dft. Hollis I. Mooney.

9/27/51

Fld, ANSWER of Dft. Harriett W, Derby.

9/28/51

Fld, ANSWER of Dft.i-----
Lincoln J, Hamilton; |

- Louise Phebe Hamilton;

‘Anze Community Bldg., Ince.

‘10/1/51

FLD, ANSWER OF DFT.:-~

Gustev A, Spaniol;

'. Rose Spaniol;

None A, Longwell;

' Lionel G, Schwalbach;

Anthony & Margaret Chistino;

Reese, Mary & Marjorie Tittle.

10/2/54

LD. ANSWER of DFT, :--~
Leroy I Weeks; _

-Nel.j4-2—M,—Wee

Gussie Rice;

(SEE

TTDN Cheon TOIS SY PUT SIATY ONY

CONTINUATION SHEET )

10/4/51

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{ on + +5 By +

lets Carl &, Rice:

oe

_Pliver B,.-Campbehls:

‘Parties-Dft.|

- 10/3/51.

Tre. ANSWER of. Of "Delftna Pena, So

FLD. ANSWER, OF DET: =>:

James Kk, Trindle; ’

Barbara M, Trindle; .<-

Edith Tittle Mitchell.

- 10/5/51

FLD SEPARATE ANSWERS OF DRIS. in-~

Relene Wheland Cleveland;

Lewis M. “Cleveland:

Milo 0. Busenburgi

Fred H, White;..-

ynthia S. Eggers;
W. EH. Euck; ,

erald W.. & Ellen V.. Ackles; ;

was. H, & Faye I. Bell;

Sonia Sassy?

Jonn “Barsky;

Clartrssa S. Miles;

Wa, G. Thamas;

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mm a >
QSba NLS Veusy;
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“arthna OC, Klaviter;

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DEFENDANT

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D,SEPaRATE. ANSWERS OF -DFTS,:--—

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ReSA MEW

ft.

| C..Findle ys Marian Lyall Cartwrignt;

Walter H,& Hilda F:. Barkow.

10/9 [auf

fae ANSWER. OF DFT. 34

athlsen Diana Woageay

Kenneth B, Hodges; +

Marjorie H,. Palmer;

Coburn’ T, -Palmer,: |

51) Fld..

_ ANSWER + Of: Dit. Louis. Figaro. Fld, ANSWER

\ or ort. ‘Ellen .Ky:Figaro,”:.

Fld. ANSWER of Dft.Winona L. Shepphera.

Fld. ANSWER of Dft.J.R.& Jean E.Poorman.

_Fld,Mot,of Pir. & Ord, thereon to Include” Addl.P

_Ised, Sume,

Eerie

10/12/51

Fld ANSWER of Dft, Winona L,. Sheppherd,

JER 9

Dft, Walter E. Bassett.

Fid, ANSI

10/16/54]

FLD.ANSWER OF DFT,

George H. Ramsey:

Robert Wm, Severns;

Gladys M, Knudsen ;

John Knudsen;

Harris R, Wood:

Elsie M.Wood;

‘A.J.& Anna F, Bendler;

Chas.G.Bendler,

OAT

FLD, ANSWER OF DFT, :---

|

(Charles A.& Margaret Alice Roberts;

Lester S,Brown;

Phebe M; Brown;

Fridolth E,

-E, & Opha A, Lundgren.

Fld.Mot

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Tee ‘&" "Araelle. 6. Soo
(Elvain.c, & Barbara A. Baker}

“| Emilia Cc. Smeleers_ fe

Bert Sharp;.

‘| Maude E, Sharp; ° a
Lawrence R. & Paula - Gillette Carter; —
a San ‘Diego’ ‘Gas & Zlectric Co.
- 0/19/51. |. FLD. ANSWER OF DET Sree
Sas Madge: Marty; © SR :
Tempe :C, Tribbett;:
John Eobeppermany

Jewell R.Depperman; |
| Ira B,Washburn;

Ellah De Normandis;

Lincoln Rogers; oo
James L,& Gladys V. Sims; .

John J, Carlin & Julia A Carlin:
Ferrell E, & Mary F.Whitten; —

| Clarence E. & Delile D.Hutton;
Nellie £.Beck;

Nark E, & Allene P.Urner;

John W.Goodman & Mary :'C.: Goodman;

Daniel T, Abbott 42 Jessie BLAbbstt
Leone & Wm.Holman;

Wn.G,Thurbver, Jr;
Walter J, & lucitle M,Winzell;

Richard ©. & Jessie S,Lane;

Moe Tf4s
Mary E, Golden;.

 Beatries Arnaiz; —

Leones. 8,& Wm. B, Combs;

wy oe tae £ Bowie
Arthur A Kinz;

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o 1O/ 9/6 & Albert A, H Preston; ee

Fr mont * by Porkileony

‘Frank. Crabtree; we

“Walter M, ‘Breining;

‘Elwin C, & Edith M, Pollock;

Gladys BE: Groleau; |

Lawrence J.Groleau;

Jessie K,Rafter;.. °° ~

Mina Kennedy;

HE, Kennedy} °

‘| Charles S,Rainey & Pan ey. a, Ratney;

amy | Anthony Burt; ©

John L, Schcoley & Rosalie M, Schooley;
Ulyde S. Tripp;

Olive E.Tripp;.

Marie M, Besse;

Robert A. Gladding;

Francis Rowe Parkinson; -

Rose Marie Parkinson;
Tesla C,Nicola;

Ruth £. Nicola;

Edward W. Saurin;

Katherine L, & Malcom A. j-GEbbe;

Charles M. Purtee;

Lena Jo Purtee;

Frank E, Clark;

Joseph Cuccio & Mary Gueeto;

Charles Clark;

Thomas J, O'Rourke;

Mabel L. Toner & Rex J, Toner:

Ethel S.. Pepple;

| Granville G. Pepple:

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“aha. ANSWERS of. Dfts.Ben & Edna G, Maben, 5. Marie | ae

“| Holdaway ,<Myrtle: D,Lohman,. Edgar $.Lohinan,

Ho qward:F.Sailey,Lola , x. Bailey, & Rainbow Valley
“| Grange 7689 cone =

f5 Fla “ANSWERS Of DEterFrBe&: “Anna! ‘B; Whitmore,.& ~~

“hAnna K.& Richard ‘A. Woods, _Fld.Mot.of Pir.&

Ord. thereon to Include Addl.Pties=Drt,

|Ised, Sums. Fld. Stip. between U,S.A.& Mary Vail |

‘|Wilkinsonjet al. ,Trustées,relative to their

respective Righte in & to the Use of Water in

the Teme Cula~Santa Margerita River.

| Fld, ANSWER of Dit. George T.Woodicck.

6/51] Flav ANS WERS of Dfts,Camille H.Roesch, C. MW,

1 Heegard | “Charles: Johnson, Lillie B.Heggard,

Clark: L, Parks... Fla, ANSWER of Dft. Retta Winter.

| FLAJANSWER of Dft,Alan Ray Carter.

0/25/51 | FLD. ANSWER OF DFT, :----
- | Howard V.Harrison;

Pichard L,Milholland; |

Ellen Wi, MiLnolland;

D.G.Veazey;.

Lew E,Pittam

Ethel V,Pittam;

Aivin §&, 5. Tharp ;

Mildred | E.Lee Tharp;

Mearl] H.Deyo;

Eugene N, Deyo

R x 7 ie J

suena Vista Jons & Otto H,Joaz
Zia &,Shinley;
= Case. 3: 51-¢ ~CVv- /-01247- JO- SBC" Bacumerr alt Rie O125/51 “PagelD. 24 ‘Page 24 of 68

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PLAINTIFF .

- DEFENDANT

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RETURNS

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oy 10/25/51 Verne G. ¢ Shipley;

ol) Hele, Eubanks. & Marjorie H, Eubanks}
|

to Soha: C, Bt sogno & Marcella Bisogno;

Marcelle 6 E.R. Barkow; .

“Varta Vv, Ghisky

| Dayton M, Plank;

| Pletcher H,Hayward;.

“ft Alice I. Bergman;

Theda B. Hayward;

Berenice Hi Jorgenson; —

Carl P,& Geraldine Bauer

Edythe A,Oswald & Robért A,Oswald;
Marie Hollana;.

=| arta E;Bevan & Margaret L. Bevan;

qllie- Mae: Bryant;

Foe Owiley ger

Mary Ellen Charlotta Emery;

Lawrence C,& Margaret H. Fuller; -

Homer H,Harvey;

Lillian E,Harvey;

Frederick Theodore King & Florence Zva king;

Harry Eenigenburg;

Lealia & J.Antoinette Fuller;

John Zliot & Louise Galt doit;

J.4,Stonery & Frank Stoner ;

Mee Walker Kinz;

Darwin B,Wricht & Bucille A.Wright;

FiHugh Wilcox;

| Fawn W.Wilcox;

Ralph K,& Joan C.Enander;

Walter E,& Edna M,Crane;
Donne King;

Samuel E,King;

Marguerite E. Hughes;

Sawyer Wells Clark

Roy B,Mclash;

Thelma E,McCash; (janSin vunSe7) uorSay oytoeg

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CON TINUSTEIN SAE Sp ea Ue TY TeUOTEN Sar Fo SOME

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PLAINTIFF DEFENDANT | RETURNS

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0/25/51 Helen. B. Pursche;

..| Harry A: Pursche;

[Lillian M.Jacobs;

"| Theodore E,Hroch;

|LoutLe & Lora Mae Boen.

FLD. ANSWERS | OF DFTS, :---_

_| Russell P.& Ruby I,Wolfe;.

Louie J.& Gwendolyn H. Johannsen _
John Herbert Snodgrass; >

Harriett N,Ingran;

Pieter Kroes; Ss

Roy C,Jackson;

‘| Louise Jackson;

| Arte L.Morrissey: *

[Percy C.Morrissey; -_ |

Herman H. Silverta;

Harry. Watecn,.

51 FLD.,ANSWERS OF DFTS,:---

Dorothy K Porter;

Eenj.F. Porter;

Leslics V.Sims; |

Thelma M,Sims;

Orville W, Carpenter;

Vera L,Carpenter;

Donald T,Oster & Pauline. B Oster

zmma Hazel Holmes;

Erwin: Howard Holmes;

Bartolemso & Clare H, Simenelid,

FLDJANSWERS OF DFTS, :---

David & Lillian A.Gulihur;

| Gladys L.Van Gordon;

William F, Parkins ;

Reba E.Parkin onj

S.W.Green;

“Le'Gade 3:51-cv-01247-JO- SBC". DBedimient 24 Filed 01/28/51, PagelD.26 Page 26 of 68 |

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¥ ra ae Ff

“10/1/54 Mrs Nellie Milhoiland;
jGeo.W.Milhollend, 0

Yo/ee/5u mia. ANSWERS of Dfts,Albert Don & Viole o . Rounds.
wf &4 7é

Ry | Fld, ‘ANSWERS of Drte. Robert: G. Hood &. Ruby: Lee Haod. |
FIG. ANSWER of Det. Evie Ste nley Gardier, oe

Fla, ANSWER of Df%.Ruby Lee “Gaston, "PLA SANSWER lof

‘Drts. Mildred C.Poore & Paul R.Poore. Fla. ANSWaR |.
.:. | of Dfts.,Myron V.Geltman & Pauline C.Geltman,. |

#57751 Fld. ANSWER OF Ernest G.Rezister, Fla,arridvor _.

Rap Mailing of Answer of Dft.Erle Stanley Gardner,

 LL/L/SL-| Fld. ANSWER of A,S.Richardson & Eileen Richardedn,

| FLD, ANSWER OF DPT, :--

‘Norisse Pauline Milton, Sued_as Doe 702;

Perry Eugene Milton, Sued as Doe 103;

Frank R Capra & Lucile W, Capra; -

KE. Hunter; “ oe

Doris I,Worcester; »

Oliver B Ularno;
Abbie =.Clarno;
~ | Daisy W. Scovel & Harry J. Scovolt;
David W.Parks & Hester E.Parks.

Filed Letter from Sam Schoenhoff & Fern Schosnhoff

as Trustees of First Assembly of God Church,
--._ | San Diezo, California, Disobaiming Any Rights.

--11/2/51 | Pla. ANSWER OF DFT, ;----

oe Ida J.Burwell for herself & for E.C, Burwell(Dedeased); . an

J.H,Raymond Nettleship & Mildred J.Nettleship; |-
Ura Dorman; oo

Cornelia Dorman; 7
Sylvia Blanche Baker,AKA.Sulva Blanche Sutton, &

James H, Sutton;

Ben G.Martin & Blanche E.Martin,
11/5/51 FLD. ANSWER of DFT, :---

D.Z.Manthos;

_larthur T.Bogstie;

Mary V.Fogstie; .

James Raisez.

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 11/7/51| FLD.ANSWER OF DPT.:--- oT
eo: Ora-G.Fuller; 0 0 0 fo fe
Frank’ Barnun &: Maude M. Barnum Bo , TT Tr

| Theodore Connely; - ee

Willian: ‘Clark Greer é Anita A. Greer; eee

_ | Emilie El Ahrend; es
H.B.Myers; — --

Cora H.Myers;

Carmella Di Piazza;
Elmer R R. Eggers;

Fred D.Leach;

John Kuhnis;

Grace M. Leach;

| Verno O.Wiley;
‘Robert J.Marks; -
Sybil -E, Chapman;
Jeanne S,Marks;
Ethel M.Parshall;
Raymond A.Granthan; -
Zelma F,Crooks;

| David S.%rawford & Constance L.Crawford; :
Cyril C.Margetts & Louise Margetts; - |
"FH "M" Bell & Dora A,Bell;_
Chester O,Tanner & Theodosia 5, Tanner;
‘Imogene Richards & Joseph A.Richards;
Jackson M,Oswald;

Jewell Calvert & Urey Calvert;

A.Mae Gruner: -
Floyd £ Ahrend j
Lyle W. Stokes;

Marie Stokes;

Arthur P,Parshall;

Elmer J,Burney & Hazel D.Burney;
N.Neil Rhodes;

Ruby N, Rhodes; _.
William J,Waltz & Hildezard L.Waltz;-
Ada E,Pruitt & James L.Pruitt;

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stina R. Beck;

Sis E,Plank; .
'. Dor is E,Lancaster; . -

-. George D, Lancaster;
~ [Alace M. Lattimer & Wailiem F, bateiner
“| Leora A,Pitman; Bee ee

~ Dorothy. Moffat;
~ fbaura Vitale & | Willian Tv. Vitale}
valine C.Staude & Oliver B, Staude;
Fealeta C.Saunders;
Melville D.Seitrich & Margaret } M. Seitrich;
Marv £,Sallee & Frazier M. Sallee}

George. G, Saunders; -
\Cecil E,Morris & John J. Morris;
_Florine-D.Harrison.& Leighton L,Harz rison; wo
_erjorie B. Tuttle & clyde i R. Bustle: a vet |. . fo . Ref
’ Alfred E,Lutze; — Me feo pa fon fae
Michael V.Tobin & fuby M, Tobin}
Louis A.Mangan; |
ileabella Rail; |
0.0. Kinsman;
oo (Carl Drescher;
Thomas Gale Knight;
Lillian L,Weodrow;
| *. |Howard” C, Woodrow;
. John Steinhoff;
“Floyd. W. Rail;
Susie M,Oswald;
Walter Rudolvh Kuhn;
Herbert M,.Webb;
‘Vera Ingells & William &£, ‘Ingalls;
_{Lorna M.Blankenship & Ronald I, Blankenship;
‘(Chester O,Tanner & Theodosia Tanner, .
11/13/51 FLD. ANSWER OF DFT, :---
> (Estelle M,Pomeroy;
| - jTimothy C.Pomeroy;
|. Edith Thais;

fT William Thaiss, - (Jandy veun8e7) uorFay aytoeg
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. “| Issues, Fld. Plf's.Memo.of Pts.& Auths.in -.
|. Supsof Mots, to. Try. Separately certain Iesues,
“Fld.4 arfids, of Svce. by Mail, .: Fld, ANSWER of.
‘|. Dft, Donald B. Trunnel. Fld, ANSWER of Dft. 2s the
- 0. | My frunnelis I vo
11/14/51| Fld. ANSWER of Edwin Dover, Fld.ANSWER of oo Paap aon
> IDft,Egsie R.Dover, OO ef Pe
Ab Fld. ANSWER of Ralph D.Buzard, _ Fid.Mot.& Ord, t
Include Addl, Pties~Dft. . oe
ag/aa|ma, Interrogs.by Dft. Fallbrook Pub. Utility Dist) to
-|be Answered by Plf, F1ld,ANSWER of Dft.Amy Parks. ote. .
11/20/51 Fld. ANSWER of Dft,Lorraine Weston, Fld, ANSWER) | | Joe ee
oe Jof-Dft.Claude Weston, Fld,Subst.or attys., [9 .| “fee pe de |
Subst. Clayson & Stark, Esas.with Kenneth K.Wright, =| 2,08"
Esc.Instead & in Place of Kenneth K.Wright,Esq.only,
jas Counsel for Deve, Wma W.Cottle « Katherine C.Gibbon,
11/21/51 |Fld.,Not.of Hrz.on Mots. Dfts,Fallbrook Public.
~. [Utality Distr: nla. Non ot Erg,on Mots,Dfts,. Edward
|G, felms, Lottie L.Helms,Herman C,Pankonien & Almp.:-
C.Pankenien; Fld.Not.of Hrg.on Mots. Dfts.in
Intervention Feonle of the State of Calif.;
Bll Mote Noticed for 10 AM, 12/3/51.
__ Fld, ANSWER of E.P.Kinney;Hector Hecock;Walter

5

is: Alice M,Dennis:Robert M, Cummins &
earl Dickinscn Cummins;Alma F,Click;Helen J. Bashaw;| |
John K,Knox & Prences S.KnoxjLaura A.Dunn;Ralph

a. : mm 20 Syece : oye . As s 5
E.Swiscart;d.G. 5ibbj;George SenmelljMaude Ellen
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+t Sea Teton Th Mayet SEA - ns ~ * :
Uierk, gon E.Brown;Conception M.Ratcs;Clarence

Morano;Amalia Ms

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B,MoDantel; Flora B lackey ;

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Taher WOR - . Sanh = " = pegs: .

vorn H,Dedeon & Sesrl DodsonjFaith W.Xksnworthy;
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Thomas = ene & Blanone M.Dansher;Mary Kinney;
Buster Roberson & Mary Roberson;William R, Banks}
dones R,Steward;Mamle M,Downe;Licnal O,Kenworthy;

trley MHavers & Stewart Libavers:Harold L Jobneonk
thelia B.Williams;Lloyd T.Williems;bLaurence A. Wallace;

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11/29/51

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| | FILINGS —PROCEEDINGS

’ CLERK'S FEES

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' DEFENDANT

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RETURNS

Fld, ANSWER of Drts.G.R.& Bonnie Gough: -

1/23 5 /5L

11/26/51 Fl Not. Sf Asscc.of Attys. Associating Arvin'B,
‘Shaw wry, Ag sist, Atty. Gen, ,State of Calif. as"
Counsel ‘for Peonlée of State. of Calif;

| FLD, ANSWER OF DFT pene oa Mee

Alms E.Paulson;

~-| Vietor J

.Paulson; -

Grace. Lundgren,

‘anit. Cred. that Hr. on Mots.of U.S.A. to Try Separa

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certain Issues htf.Not.be heard at 3 PM instead

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.~ Fld,Written Stmt.of Reasons of Dft. Fell

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Separately certain Issues & its Answering Memo,
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Fld.Dft's,Oppos. to Plf's.Mot.to Try Separately

certain Issues,

-Fld.Intervener's. Stmt. ,Peopld*:

of State of Calif.,of Reasons in Oppos.to Plf's,

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fur, Hrg. Fld,Stmt.of Pir. Fld, Affid.of Gen,

R.A,

Ge

Anderson,  Fld.,Copy Hrgssof Water Rights Conty

roversy.

FLD, ANSWER OF DFTS, :---

Arthur R,de Runtz;

B,D.Morris,Jr.;

Patricia O.R,Morris,

FLD. ANSWERS OF DFTS, :--=-

Herbert C.& Ada L,Mahr;

Beulah E,Thompscn;

A.T, Thompson;

Sareh F.Morris;

Helen L,Wallace;

Harold I. Smith;

Walter V, Meyer;

Para L.Meyer; © (jandin eunseT) uoiBay sy19eg

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: oe oy PLAINTIFF... | DEFENDANT. RETURNS.”
_tcontprp, )- fe a co _. .
‘12/4/51 - Luke E. Larson: ee
i | James Wolmuth; a ah

Helen: H. Richardon;

Elsie H,Berry;.

Harvey Gossen;

Olga G.& John Z.Walker;:

E.Gordon & Margaret Burgess Hallj es

Rosé Vinzant;” - pe a Re

John. W,Vinzant;. 2 °° po a tebe}

Herbert & Lucille E,Orr;

Jacob A.McKathnie & Zella M.McKathnie;... -
Nellie G.Smohl; oe se

Leonard: 0, Smohl;

C.S.Hilliard;

Mable Dorothea Winslow;

Lucy A,& Robie T.Morris;

Medardo & Iride Morgegns;

Glen C, Snow;

|Jewel E.Walls

George 0.Proeblo;

Elliott & DeWiss Satude;

Alfred Mason;

Robert B. Bleecker;

Fred Burton Winslow;

Julia D.Munro;

Ethel M.& Herold Salt;

Paul Doyil

Mary 4gnes Ramse

3
|Jameg W.& Lena L, Eneips:
r

Peter & Bertha I.Meyer,

Ent.Proc, fur,Hrg.on Mots,of Plf.to Try Separately
certain Issues & Ord, seid Mots. Std. Subm. , Cont. Case
to 1/18/52,2 PM, for any & all tur, Proc.&/or
Decision on Mots, Ent,Ord, that Plr.Serve &

file within 20 disvs from date Kenly to Answers jof

Drts.Failbrosk Public Utdlity Dist, Edward G, &

LottLe L.Helms,Herman OC, & Alma C.Pankonien,; &

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6/51 Fla. ANSWER of. B£t, deorge
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Photostating Copies thereof, , taking. Reopt. there

fos Fla, ANSWER of brt.Henry R .Lichtwald,
-/12/10/52 Fld, ANSWER of Dft.Flosste L.Gakles:° 8 =.

| Fld ANSWER of Dft.,John R.Gakle,

12/11/51 Pla. ANSWER of Drt,Helén Brandt Simonds,

1212/23/51 Fla.stin.& Ord, therefore Extend. Time of Pir. to

doo,

| Answer Interrogs. of Dft. Fallbrook Public Hetty

: Dist. ;to 1/7/52

“12/1/51 Pld,ANSWER of Drts,Harold A.& Marian Smith.

' Fld, ANSWER of Edward Roalfe & Marjorie G,Roalf

@.

_fld,Mot.& Ord, to Include Addl. Pties-Drt,
 -iIssd. Sums, .
RAT 2 Fla ANBWER of Dft.Daniel W.Eckerman.
FLD, ANSWER OF DFT, :---

- Gladys M,Eckerman;

: fichard R.Gauldin;

| Gladys R.Gauldin;

John H.Lease.

ASA FLD. ANSWER OF DFTS, :--~

Alfred A, & Gladys Gregory; .

Merybelle Hawkes Juelson;

Raycond John Holmes;

_E, G. Womack; “

Brittle I,Womack;

William W, Willis;

__Florris F.Willis;

_Lloya L.Juelson;

Ernest qT, MoDonala & Flora M, McDonald;

Merle. H. Rackin;

oc leire Kaufman; (ani eun$e7q) uolsay aye

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. Sylvester.

J,Un1;.

~ Harry B,Vix &3, Le BAore ¥:

Walter: Hogarth;

Gilbert. ‘Stearns. & Zelma

. James L.Moore;

-Albertie A. -Moore;

Paul J. Streb;

‘Helen M,Streb;.

Homer P,& Augusta M, Groom; ee

‘Parl Eergman; ~

‘John B,Raymond;

Viola M,Raymond;

John A.Marchant; - oon 8g

“Mignon. C. Marchant;

Daisy E.Mixer;.

Fred J,Pourroy;

-Frances Pourroy;

Patherine B.Pourroy;

Fierre Pourroy,Jr. ;

!

John F,& Pearl O,Jones;

Ian Perigo;

j

Nellie S.Liliie; .-

Josie G.Hale;

Walter B.Hale:.

12/20/51|_ Fld.Mot.of Flf.&é Ord, thereon to Include Addl,Parties-Drt.
(12/21/51) Pid. ANSWER of Drts.Wm,C.& Annie L.S,Curtiss.
12/26/51) FLD.ANSWER CF DFT, :--

4.C,.&chwartz;

Valletta Prehcda;

Eugene 0,Prehoda;

Alléen 1, Fosneugh;

George §.Fosnaugh.

Fld,Reply cf U.S.A. to Answer of Drte:--

Edward G ee Lottie L.Helms,& Herman ©C.& Alma O.F

ankonien;

Fallbrook Fublic Utility District.- Fld. Affid, of

Svcé.;

f Svce.;

Sah ta Margerite Mutual Water Co. ~ Fld. Affid.of

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5 _Goodwin,: “Chari

3 228/24 FLD. ANSWER OF”

“Praniie i;
en WT. & Zelma’ “Snith. Coe
- Me(e2..-Fiaatt SWER ‘of Dft.Marjorie G.Roalfe.
a s,Transc.of Proc.1é 13/56
 FLDANSWER OF DFT:--"
Edward Roalfe;-
Vilate.Caldwell;

i Ernest L. & Kathryn’ PF. Messner. oo wo
1/4/52 Fld.Mot.& i Ord, thereon’ to” Inc lude Addl. Pries-Dtt.
a FLD, ANSWER” OF: DETSSH Bg oy
Eleanora M, Rehnlund_ & Bror R, Rehnlunds
> Blmer Beatz

DLO .& Margaret Painter}

' Geo. bk & Marina PB,Kingston;
Anna’ Negele; os
' Rhode. A. Young;

Florence Bergman;

James E,Fetherolf;
Myre L,McClung;

: Rosaline G0! Connor;
i : '; John A.Ramsey; _

. Viola V.Hamilten;
Po | Douglas Hamilton;

| Adelbert V. Studer;

W.Burr & Ruth 8. Corliss;

David R, Harris;

Jeanne M,Harris;

, Arthur W.Hudson;

'' Albert Jeffries & Martha Jeffries;

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Mavy—M,&—WmsL.Demeron;

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Masao Uchimure; © (jansiy cunSeq) uorday oytsed

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“pw ae ‘GLADYS Hiatohers_

Harry- 0; Windsor

Porrest: H. Tri tonke:

‘Lela May Reed; _

Gretta M.Tritchka;.

‘Merlin Dale Reed;

Willian: B. Coleman & Nannie May Coleman,

Afi foe Fld, Plf's, Angwere. to Interrogs.of Dft. Fallbrook
oy Pub. Usal. EDistr. , toge ther wath 13 Vols. of Tables &
1/&é/5e2 FLD. ANSYER OF DFT, i--

Karl Prick

Edward he L.Christine Wright;

Joseph Dl Snerman,

Fla. AN cwem or. Frances Frekes,

fopft.
Fld ANSWER of Dft Samuel Frakes,

| Fle. ANSWER of D4

Ede AUSAER of DEts Geo. F. & Alma as Yackey.
tl ke

1/10/52

PLAINTIFF > |. DEFENDANT _

Fid, AN SWEk of “go Di- Collelmo & Mabel M, Di Colllelmo.

1/11/52| FLD.ANSWER OF DFT,
Grace N.Scott;
Seiby C,Scott;
Myrtle E.Parks,
Fla Mot.ts Strike Portions of Reply of USA, ts
Answer of Fallbrook Pub.Utility Distr. ,& Pts.&
Auths, . .
L/1i/se | Fla, AN SWeR of Det.Marcus H, Brown, Fld, ANSWER
of Dft. Katie F.Brown. :
1/16/52 | Pid, ANSWER of Dft.Tony B.Fontana, Fld, ANSWER
. . of BILL Clement Fontana, : .
1/17 /52 | Fld ANSWER of Dft.W.M.Hoiding & Beatrice LyHodding.

LAB 52

Pla ANSWER of Dfts. Gilbert M.Gulton “« Gera Davis

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ounsel for Dft. to: Frep, Formal’ Order,

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Bx Parte Proc, & “Ord. ‘on. Mot. U.S. Atty. Assoc. alter

J. Turnbull ,Jr.,& John Robert. Motar shy, Begs. 188

Assoc, Counsel herein.

“FLD.ANSWER OF DFTS. ;-- ee oe

Ploya: O,& Eva-H, Smith;
tte. B.& Grace Vv. Beaver

. ' GA; Smith;

Jackson O.& Senora BE, glenn;

Mrs.W, C. Tomlin;

‘Sydney. Gg & Julie 2. Sm. shy

Resse. Fg. Pit's, Mot.& Ord. thereon to include Aaditional
pe  'Pttes-D . .

. FLD ANSW Ea OF DFTS,:-—-

Co LY. & Helen B, Dickey;

i : ida’ Farbeni

Loel S.Lewis;

Do _ Otis Ralph & Mary Ralph

Edith Pearl Davidson;

‘Clinton Clifford Davidson;

Albert Pearson Estate by Marie Stanness;

_Alice H, Tobin;

Arthur M.Tobdin;

William B.Green;

Florence H.Wernicke;

Florence 4.&é Leonard 8. Worn oke

Leonard Ss. Wernicke;

Russell & Gl adys E, Freeman:

Dorothy A,Simonich

B.F.& Pennie D.Taylor;

_ bettte M- Anderson

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1a Rath; (ondin sunder) voroa yor

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~ Case 3:51-cv-01247-JO-SBC_ Document 1 Filed 01/25/61. PagelD.37 Page 37 of 68”

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PLAINTIFF "DEFENDANT RETURNS

yy

‘Winona M, ye

John Lucien. Giugage; —-

fpry J)Gledhill;:.

ee ay

Paul -R. Moore: & sylvia Woore;

“Clyde L.& Lydia J, Olson;
‘Lee’ Zimmerman; :° :

: Walter A.Bergnan

Aanie E £. Bergman ;”

‘Ethenne: Ceas;

| Albert. N. Ceas;:

‘Albert Ceas;

Norman L.Hicks & Lorraine I, Hicks;

.| Dolores.G.& Jewel Bei

‘| Joseph | Gok Dorothy” A, Flavin;

Fallbrook AgsémoLy | of God, Inc. etal.

Pearl N, Dew;

Cora M,Maze;

Milidred Langhlin:

Irving Hamilton Smith}

tone C. Smith;.

Junte B. Allmon( Same as Jimmie &.);

Anna Kotz; -

Arthur H.Dew:

Jean Domenizoni:

Francis N,Domenitgoni;

Clytelletsane ag Ceytelle) May Enson Williams:

Joseph Merrill Kolb as Exec, of Eet,of Marzaret lA. Kollb deceased;
%

Lioyd L,Zast & Helen L, East;
Clara B Korb & Walter L.Korb & Leora N.Kort (Kart):

Pred W.Oest & Edna L, Oest;

I.G.Harris & Elsie L,Harrie:

Franses & William M Kedler; -

Harry BH Beroman:

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Case 3: Biv 01247- -JO- SBC ‘Document 1 Filed o1/25/5t ° “PatjelD. 38° ‘Dae 36 Of 68

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oo 1/ee/se 2_ BA11 “Holland; .
Bee Joseph: E.Monser & Mergaret # Mons SEL SS .

Paul H, Thempeon & Mary: MM, Thompson;

qb.

aLDorot thy ‘McElhinney; | :

1a. Le “Arthur Brown & Nancy Jen e Brown; Boat -
“Lhe. Haselwood;- Dok

‘| Laster B. Haselwood;

“Samuel V. Kostion (same as Samuel P;Kotich);

| Adele 'S Truitt;
|

Marius “Edmund Nicolas & Georgia Nicolas;
‘Henry W.Ellis & Bertha J.ELU4 |

is}
‘Charles F.Smuith & Maud L.Smith;

| Ida Mae. Freeman; .

dene. Spore;

“) Anns N. Alien;
i

i Janes. E, Conley:”

E.W. Robison & Viola-N. Robison; -

‘ Ethel Flowers & Roy Flowers:
(| Bessie L.Freeman; oe

- Mabel J.Aytes;

Rita S.Bittikofer & C.=.Bittikofer;

af

‘Edna Young;

__ Rhoda’ Frances Taylor:
_' Vera Reaves Willians;

| James O.Freeman;

_Bernard Appel & Ida Appel;

i. *. | Herman B, Bergman;

Geil Williams; |

-L.C.Wilijems;

Orville E,Pevry;

- Marius A Nicolas & Mary Nicolas;

Minnie M, Tesch;

! Joseph Di Piezza:

Ginger Mae Gottula & Theodore Arthur Gottula; |

F.0d, Denwez & Anna Depweg;

Christian Science Society (Mrs.Effie M,Sauble + Clerk) ;

Mary J.Colton;

__.i Wal ter W, Batemans: (lantN cunse7) vorsay stored

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Se CONTINU A TPES SBR B poor e Bue SOANIDTW TRLOTTEN AMT JO SNP TOR a MIOT PIMpOTEY
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“F = EMOLUMENT
PLAINTIF® = * |". DEFENDANT ‘RETURNS —

 1/22/52"| Lucille Bateman;
(fae Pyke: 6. Xineman;
| Maton J, McDowell;
‘| Homer C. McDowell:
‘| Edna B.Kedeen; _
Elsie C.Erret;
Samuel S.Erret: _
Bertha & Ora L.Ralph; ey |
G.J.Strodthofr & Una Strodthofr;
K.ViBennis & Nina B, Bennie;
Robert. R, Thowpeon;

‘Glee W. Leander & Alzo% Leander, deceased

Ethel yn Thomsen;
| Lowry 8, Truh iti.
(Ann Truitt;
George P Martin & Patsy Martin; |
Alice Adams White;

A, BR, Stutesman & Ruth W,Stute sian;

Anna Ki Peters:
Frank Novak dr. ;
Martha Ruth Novak;

-Eoke S.Norviile;

Mabel H,Norville;

Samuel S.Schier:

Ruth M.O'Neel & Willard R, O'Neal

Evelyn: HE, Ful ier;

ari E »ruller;

Biwanda “Johnson;

Ath. : . ‘ ‘
f&devta LOreke & Alder TP Drakes 4—

Mathrva & Janse OC, Stewart Jr, ;

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Joseph Ric
George B.Johnson; 0 a 1
Chester B.& Any Neiawender .

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Mp Po Ie
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pp VeBele Raemus; ee — -

acese & Gladys A.Gcoodcase..

Qo .
2 | Fle, Grd, Den ye.Plf's,Mot.to Try Separately certain
—. f= | Tesues Reseda by Dft, Fallbrook FubiUtility Dist
- f F18, Ord Denyg. Mots. to try Separately certain Tysues,
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FLD. ANSWiR CF3---
“M, Thelma. Dunn;
{Bee E.Hayes;

Leslie Orlo Hay FES}

_Pla.Plf's.Mot.to.Ext.Time to Plf,in which to

fo) Answer Mot.of Dft.to Dism,,& Make More Definita
ffs te Strike of Drts.,Hosang,to 2/1/52,& Ord, thereon.
«1 f/eeV¥ae PLA ANSWER OF DFTS.:-~

RENT RE ERETETEETE Haj oO

, Burt Taylor;
_William K,Auld;
| BLM, Jurkovich;

Pla. Stip.& Ord. thereon Extend,Time to 2/1/52 id whiph

Flf,may Answer Mot.to Strike Portions of Replyjcf.
U.S.A. to Answer of Fallbrook Pub,Utility bistiof .
_Dft, Fallbrook PublJtility Dist.
_ FLD. ANSWER OF DFS, :---

Charies F.Heald;

Farmers & Merchants Bank of Hemet;
Hugo H.F.& Gertrud Fester; —

W.H,& ‘Elizabeth M.Turner; -
Janes B,& Jennie M.Brown;

Eva E,Vines & Houston A,Vines;

Masonic Temple Association;

H.L.Grahan;

Lydia E.Gerend;
A.W.Dickenson;
Ina M, Dickenson;

Gustav & Marion Weber; (jandin eunseq) uolday olor
CON TIN UM etqess HUT Bppop ea pup Soarety peuoeN ay} Jo SaMp[OU out TOT Paopors

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“RATE *.{. a . oo FILINGS--PROCEEDINGS po REPORTED IN"
~( contr! p LL we me Se PLAINTIFF. . DEFENDANT - RETURNS
.../23/52 | Joseph G.& Vyola M, | Hunter;
vio". | Robert D.& Betty E. Gill;
. George. Bouris;” Ce
| Ethel T.5tevenson; °°
Donald R. Stevenson; a
‘Lillian’ I,Gook & Ogcar R, dck;
| Theresa A. Graham; —
Ida Boren & Jesse Sheldon Foren;
Verba B, Wright;
Fred M, Wright;
| Frank R.Navarro & Dora’ H. Navarroy
|Hildur M, Clark; ”
| George A.Clark; |.

Sam Bouris;

Mary Bouris.: :

1/25/52 | Fld. ANSWER of Dft.Rissa Intha Coates.
oe FLO,ANSWER of Drt. Rufus H.Holland.
Mld.Mot,of Plf.for Sep.Trial on Merits. .
Fld.Memo.or Pts.& Avths.in Sup.of Mot.of Plf.for
Sep.Trial on Merits for Case of U.S.A.v. Santa|:
Margarita Mutual Water Co. Fld.Mot.of Plf.for
Sep.Trial on Merits in Gase of U.S.A. v. Fallbrook
Pub.Utaikity Distr, Fld.2 Affids.of Svce.
Fld,Mot.of Dft.,Jnseph & Ruth L,Hosang to.Dism,
& to Maxe More Definite & to Strike,& Not. thersof
retble.2/25/52,10 AM,

1/26/52 | Fld. Stin.& Ord. thereon Extend. Time to &
incldg.4/1/52 in which Dfts,Searl Bros.may have in
“hich to Answsr or Otherwise Plead. Fld ANSWIR

of Dit.Georgs H.DeBorde, Fld ANSWER of Dfts.Louis

a, M.& Nell F. Carter,
wf

[foo see" S14 ANSWER of Dft.Neance Harvey Marehall.
' IFA ,aNSWEK of Dft.John Stuart Marshail,
 |Fl4.Not.of Mots.for Sep. Trial on verite,

retble.2/18/52,2 PM. Fld, Affid.of Evce,
FIG ANSWER of Dft, Val Curtis & Phillys Curtis.
1/26/52 | #la ANSWER of Coloves Cestello Vruwink,

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RETURNS

| PLAINTIFF DEFENDANT

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1730/52 : FLD.ANSWER OF DFT, . <<

V.Ayers;

e. AONB M, Shaw

Mary F,Taft;

tson:

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u
itson;

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auline H.S4ll.

eply of Dft.Santa Hanger tn

Mut. Water Co. to

Fld.Memo,af

FP

said Reply.

Fld.Plf's.Memo.i

4ot.to Strike & Reeponse

to Memo. of Pis.&

‘ Auths,.

Fallbr ook Publ. veal. Distr,

1/58 ie 76 pa, ANSWER OF DFTS, :--

| Geo.& Meta Lee Cummins;

Issac Jd. Spann;

: Ruth F. Spann;

Roy O.& Helen Paulin

Lieb.Chapnell;

be
.

Neliie Pl& Wm.A,Minnicel

Geo.& Goldie Romocean;

Jonn R,& Slizabeth A.Plumley.

Sr.,@ Ona.Faye Mautey.

PLG.ANSWER of Dfts. Bill E,Mauzey

TLD, ANSWER OF DEFT

ofa /s2

‘Kenneth W. Long;

‘Royal Hibbard;

Judy Hibbard

Worbert A. & Emily McElwain;

x
‘

Daniel John Rooney;

Bessie HM. Rooney;

Julia T. Smith

Mary L, Barnett

Glenn 3. & Lucille Parry;

7

Becien:s

ca Doaroths & Raymond

Tse hel le A, Berger;

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Ro Bernardin es

Delia LocBemne: re: im:

Liane N i eunse") Hoven aytoed

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‘DATE FILINGS—PROCEEDINGS’ : . _| REPORTED IN “>

2/1/52. | FLD. ANSWER OF DEFT'S. :--

_ __| Henry E. Blackford;

‘|Hleanor P. Blackford;:.

‘Deane A. Bottorff & May pottorty;

ig bel Bridenbauch;.
Chester ‘Cassel:

Dorothy. A __Cassel; .
Dorothy B. Clenons & Janes F, Clemons;

Dale Damron; -

Roger Detlaggio & Jennie DeMaggio;
Lillian L. Divine;

David C. Donath;

Kathryn Jane © ‘Donath;

Hohert Ee Dorland;

J. 2. Been: |

Ann R. 3fan3

Leta EH. Evans;

George M. Felton & Mildred Felton;
RUth Felton;

Moina A. Fyele;

szey Lou & Gordon C, Foster;
oval Cy Gledhill;

Richard B. Goss:

lara FZllis Gracey;

Wartin J. Grammer;

Mmilee J. Grammer;

Orville 7. Grow & Della V. Grow;

Mgiver MN. Taushlin;
Horry A. Le-is, ir,

5 . Re 5 ri A
Yietor 0. & marion We Lora;

° L
‘Barbada Morton Cranéall, Aka ete.

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ae . | FILINGS PROCEEDINGS oo : REPORTED IN .
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(OC it TD TD.) ! ‘ . , ‘ : : | PLAIRTIFF . DEFENDANT RETURNS
a = _ _~—— : py : : “.

 2/1/ 52k FLD. ANSWER OUP DURITS, p=
Sp | John A, Meyer & Mary z. Heyer}
lolet & Moblenhor?

i A cc e * Vonlenhof: > & y
{Delmar Perigo;

ae _|Marie L. Richie;
op 7) | Ervin a. Robbins;
iT Alma C. Robertson; |

Cherles A. Schneider:
Louise “LeTevre Schneider;

Walter SC. & Marianne § Sehneider:;
HD. Smiley: |
Leon J. Servel & Clementine Ce Servel;

So Jane H. Smiley;
Do 5 George C,. Smith;:
a 2 Harle EB. & Dorothy, Soudan; Be pep ede fof
j William W. & Elaine Sutter (jr.) 0. Cf epee pene Pe
cee Val O. & Ardrenne Thri thart;
Bo Joseph Russ ell Tobin:
_..__Irme L, Tobin;
ollie = Watsons
Harold 2, Wickerd & Phronia P. Wickerd;
.._|RBuby HM, & Leo J. Wiley; —
bate Glenn Wi. Wray:

Genevieve FT, Wray:

Julia i, Young;
Louis B. eiegier & Nell J. Ziegler;
fla, Stip.@ Oni, thereon Ext.Time to & ineldg. 2/é/52

tin which Drt.Falltrook PublUtility Dist may
file its Oppes.to Flf's.Mot.for Sep. Trial.

iBVeine, Memo.Pts & Auths,in Onpnos. +0 Mot. Dfts.Hosang

_ {to Dim, .Mak ¢ more Definite,& to Strike.

Fla AfPid. of Svee,

2/4/52 jFLD. ANSWER OF DFTs. ;:--

SF, & Ora Lyon} _

e
Benny DA Prima & Lillian T, Di Preimma;
Cc

‘Grace §. & Morrt a B,C OTC PRSIN pune) uoIday ayloed
aS 1 ze POSER EE SOn Page” en

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(QPP Anwent er. laal eareneen)
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(conte ny . _PRAINTIF || DEFENDANT RETURNS
ve Pee “THazel A.Martel. a SS
Fld.Stip.& Ord.that vft.Co.of Riverside have |
a & incldg. 4/1/62. in which. to. Answer
“SEE D ANSWER OF DFTS,t--
see ls | Myrtle E.Ridenour; -—
Albert N.Ceas; .
Harriet W.Derby;
Josephine Fontana;:-.
Douglas J.& Opal Gordon:
Eligabeth & Helen I. Houston;
Glarence H.Jacobs; © -
Murray S.Johnston & Mabel L.Johnston(son and mdther);
Milon H:Longwell; oe a
Annie Adele Parkinson;
Merjorie G.Roalfe;..
Eduard Roelfa;
Grace E. Snow:
, . Alice I.Schwaibach.:
‘16/52 Fld ANSWER of Drt.Adelind Shaul Bailey.
Fld, ANSWER of Dft.Fallbrook Citrus Association ~~
2/8/52 FId ANSWER of Dft. Edith T.Clark, .
SO Ent.Ord. that following Mots. be Heard on 2 /a5/sd._
2 PM.: Mot.of Fallbrook Pub.Utility Dist. to
Strike fr.Plf's,Reply to Answer of Said Distridt;
Mot.of USA.for Sevarate Trial on Merits as to. .
Fallbrook Pub.Utility District; Mot.of USA. for
Senarave Trial on Meritse:as to Sants Margarita Mutual
Water Co. & Mot.of Dfts.Hosanz to Dism, Make
More Definite & to. Strike,-
2/€/52- |Fld.Onpos.of DFrt. Fallbrook Pub, Utility Dist, to
Plfts.Mot.for Sep,Trial& Answering Memo.of Pts.&
Auths. . oe
2/11/52 |FId. ANSWER of Dft,Clyde Y.Davis.

Fld, ANSWER of Dft,Ivah M, Davis.

Pie. Neporters Tranez.0f Proc.1/18/52, Filed

next y Time to 2/16/52-in-whten—

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Rely tc “Sette Realy to Plf's,Mot.for Sep. Triai

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RETURNS __.

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Ext. Time to. 2/1842. in which:

Reply Memo. to DEths. Reply toP

2/12 Fld, Separe te ANSWER o : Sere
lp Technology. * Som |
2/15/52 Fld ANSWER of Dft.J, D.Massengill “fogs |
“| Pla Reeponse of USA. to Oppos.of Fall proak Pub, deunity
os Dist. to Plr'e,Mot.for Sep, Trial & answering Meno of!’
| Pte,& Auths. to Revly of Drt.Santa Margarita Mutual
Water Co.to Pif's, Mot. for Separate’ Trial on
a Merits. Fld. Affid.of Svce. fF
2/18/52 |Fld. ANSW iGR of Dft.Paul Gilbers Wright.
/20/52 Fla, ANSWER of Dft,Zckley M.Keach & Hdrie M.Keagh. -
oe “Pia. Affid. of Svce,of Dismissal re Defts.Hosang! lor
21/52 FLa, ANSWER of Drts.Lucille Holcomb Bone & Yolande Harthey. |. [ ” ~
2 —

Persona in Place of Atty.Kenneth «.Wright..

Detad.& Ent. Plr's. = of Dfts.doseoh Hosang &

Ruth iL. He posengyh af. f1da.2/20/52,

Patricia W. Pteroe;

Curtis A.& Dorothea EH, Donath:

Denath & Plerce,Inc.,a corp. :.

Fld.Affid.of Phil D, = in Oppes.to Plf's.Hot.for
| Sep.Trtals., Ent.Proc.Hrg.& Ord,Mots.of Fif.for.

Sep.Trial on Merits in re Dfts,Fallbrook Pub.Ut

{lity

Yist.& Santa Margarita Mutual Water Co, Std, Sudm

int. fur.Ord, thet Hrg.on Mot.of. Dft,Fallbrook .

Pub. Utility Dist.to Strike fr,Plf's sReply to

Answer MS Stdind iste ak

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_ 2/27/52 | ant.Proc.Hrg.& Ord. Denyg.Motiof. Dft. Fallbrook |

Pub, Utility Dist.to Strike fr. Plf's, Reply. to. oe

| Answer. of: said, District.

“(2/26/52 | FLD.ANSWER OF DFTS,/-<¢
8 | James CL -& Delta. A. Shultz;:

Leila . Skiver;

William D, ‘Shearer;

‘Novellia L. Shearer; _

Mabel A. &. Farold Sewell; ©

‘Mabek Sewell, Guardian of: Barbara ban Aula, a

Wanows ce

Myrtle Nelson;

Cariton W.Lloyd;

(G.W.MeKethan; | = oe

M.Jamescn({ same-as D. ‘James son) 5 ee SY eS : a - - ia " - oo : ©

Adelina L.Jameson;

Merna J.Hess;

Francis W.Heess;

John Fred Grammer;

Genevieve Z.Graiff.é Darwin L.Grairr;

Serah H.Goss;

Pearl Ruby Wilecon. Ellisen;

Angelo C,Domenigont;

Clifford L.& Martha Crittenden;
Jim M.& Edmee N.Blackmore;. :

Jennie & Carl August Rerg;

Brernest 4 ,&@ Julia K,Linecin “Aka. dulis Nieke &

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cligakbeth Hl & Wlas villians
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0 A or Answer,

*) LPla, Mote

incl; Addl Fart reg-Dft] |

| Tesa°su
FLD. ANSWER’ OF “DFTs. ee
Jonn « ‘Grace HeBonhlen & Nan Bohlen;

Frank Wand & Hazel: Eunice 2 Pittams
Earnest. ‘Aubert. .

& Fla ANSWER of 3D Walter MV& & Helyn M; Bapraged.
v

ft
Hla, ANSWER, of Dit.Myrtle H,Scots.
| Fld ANSWER of Drt 5

Fld, ANSWER of Dft,Lydia A, Stanfield,
| FLD.ANSWER OF DFT, i---

County. of San’ Diego; *»

De Luz School Districty °

Vallecitos School District:

: Fallbrook Union School District.

| Pld, AMENDED ANSWER of Dft. Fallbrook Union High |
Schocl District. .

i Fld. Sucpl.to Answers. to Interrogs.of Dt. Fallbbook

Pub.Utility District.

Fld, ANSWER of Dfts.George L,Coates & Flora Dunham
Coates. :

| Fld,Not.of Mot.& Mot. retble.10 AM 3/31/52 of Dfts. Charlotte
Flo. Faulkner ,Raymonqo, Faulkner, Madeleine Thurber .

3

_| Packard Thurber for neference to a Spec.Master,

' together with Pts.& Auths.in Sup. thereof.

Fld.,Mot.of Plf.to Ext.Time in which to Answer

| Mot.for Ref.tc a Spec.Master of Dfts.Charlotte

| Plo Feulkner, Raymond C.Faulkner,Madeleine £.Thurber

‘| & Packard 7? urber ,& Ord, thereon Ext.Time to & |.

| inel. 3/24/52,
2 FLD.ANSWER OF DFT, ;--.

Robert L.Burchett;
Ralph D.Allmon; —

oh SNaIN LUTiae ]) UOIsaY syiseg —
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NTINUATION SHEET)

case 3: 51-¢ -CV- -01247- JO- SBC. ‘Document 1 Filed O125/51. Pagelb. 49 “Page 49 of 68
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: ep oo vad _ |) PLAINTIFF DEFENDANT {| RETURNS

(COUP). a wo : J so °

i. A, Groongutss so

| Evelyn. N Farventy.

Nettae Vingintn onus 2 & Stanley Jones? ny,

‘Sam Kaufman;”

Gest Tye A, & Alice XM, Lange.

Ruth E.Lloyd;

Lola Popes

Salvador Lopez; - . -

Fer Z.Lund;. ~ Bg oe
Arthur C.& Radee. Malette; . ,

Justino &- Soncepeton B. Meza; Son

‘Relph” Ce Dorothy ‘FY Nobkej

Duate. Ravaiols;

Lillie Mae Ravaioli;

Mike A,& Mabel S,Seery;

Lucas H.& Mary E.Stratt ton

.
+3

Alta & Orville Strosnia der

Minnie A, Taylor;

Virginia Thurber;

Edna Lee. & Loel U.Trotter; .

Vera BL.& James H, Vanderslice;”

Rotert H.Walls;

Margaret Wisdom;

William Harvey Wisdom

Lilian H. Woody;

Mos wae . Mee Lanne
John James & Margaret May Monett

A

= afoot p03 net a 7) OftanNe
2/LE SSE. BLO A NSWOR a 9f. Geotli be Wet fines tta dag Copeland,

2at.Grd, thet Counsel for Move.Parties in Met. for
Ref. to SMM. Senre | & File within 10 days from date

Matters Ee Stated

Pic ANSWER of Dfte Edwl0.&@ Pauline C.Lubben,

. 27 RK sy Ana mR AW, Wake: woo “; :
2/2. /52 FLAaANS¥ER OF Ort Rebert M.iewin & Ada-Dee

loPwLT, i |
Case 3:512cv-01247-JO-SBC. ‘Document 1 Filed 01/25/51 PagelD.50 Page500f68

CLERICS PRES ‘ AMOUNT

“FlacPit's,Memo, of Pts.& Auths. in Oppos, to Mot.of 2
Charlotte: Flo Faulkner, Raymond. C, Faulkner, Be | 4
eine =,Thurber & Packard Thurber, for Ref, to
eter: &. Pts. & “Auths. in Sup. therecf. | Poo de. 4

No.  Intentoge, Prop by" “Fallbrook

noes

‘Ent, Ord Gon t, Hrd. on
‘Mot. for" Ret. tO" Spec. Master to 5/7/52. 2 PM, .

oa

“3/26/52. Fld. Reply Memo.cf Drt.James C.4ldrich & 76-Cther |
" Dfts.to Flf's, Stmt.in Oppos. to Mot.of: Cert.Dftsifor

.. Hef.to Spec.Master Fld.on Behalf of said Dfts..

3/27/52) Ent, cord. that counsel may have to & incl, 3-52 in

which to file defts' reply brief,

2/27/52 Flay Reporter's Transcript of procs, 2-25-52 & 2-24-52l)

-) 3/31/5ei Fla. ANSWER of deft. Co. of Hiverside. Ent. ord.

grant tg. mo.: of plf. for sep. trial as to issusd
nn”

. to deft. Santa: Margerita Mut. Water

~

r

So. & with ref. to Fallbrook Pub, Utility Dist#ict
"abe
u

rev,

his cause be placed on cal. of '-28-52

2 PM. for purpose of sette. for trial.

F

ver. to SfM to l-es-52,. 2 PM,

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log . . oad .-:

, Ent. ord, cont. hrg. on mo. of cert. defts. fol
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1/2/52 Fla, mo, &-oré, thereon extendg., time to L/LN/5e
i f

in which pltf. may object to any o

err
& until 4/18/52 in which to. ans. interrogs. fldl

t (on behlf of deft, Fallbrook Pub, Utility Dist.

on 3/el/se,

P/1/52 FLD, ANSWER OF FOLLOWING Darts,

; Thomas A. Beaman;

i Frances =. Bradley;

‘Rey Eradley;

| Lawrence Brubaker;

' Ruby Brubaker;

; Doris I. Clark:

Guy S. Clerk:

| Matt. Colton:

Della James:

WOU SLU yy SP: 1033:

William Jemes: TBR sane) wry syed

( Ges Continuetion Sheet)
Case 3 51- cv -01247- JO- SBC Document 1. Filed 01/25/51 “Pagelb. 51 “Page 51 of 68

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CONT'D. oe . PLAINTIFF .; DEPENDANT RETURNS

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&. Dore: Be “Martin”

ata Thvestnent: Cores

Pred: “Pauch™ same.as. Fred Parch

vNGPE ‘EY “Pauch same ac Nora. BE. * Parch |

‘Christine Rivers & Frank i Rivers |

} John -G. Smith’

-|. Charles HE, Snavely-

Marjorie 4, Snavely

Mamie J. and Lynn P, Williams, Deceased,

u/i/52 |Fld. ANSWER.of deft. Betty B. Murcell.
u/s/5el| Dktd. & ent. Plfs. dism. of defte. Robert H.

Ashe r, Adalind Shaul Bailey, Ardelle C, &.

“Raymond: PF. Baker, Elvin C, -& Barbara A. Baker,

Leslie Z.

& Faith E. Barnhart, John & Christine Belchez,

Rutan M, Blackwell, Philip C. & Julia T. Busch,

M. R, & Cleaner C, Carter, Charles Raymond Cobb,
_& Winifred Cherry'Cobb, Sherman J..& Grace A. Gurtif,
FJ. & Anna Depweg, Fred John Duerst, John-W.

& Mary C, Goodman, Gordon & Anne .C. Goodwin,

Eruno & Hilda Gorschalki, Carl.I. & Doris,

inez Harris, Rufus Holland, James Edward Kroee|&

Pieter Kroes, Henry Andre Leon, Robert.A, &

Opal R, Lincoln, Joseph M, .& Solemon Maidenberg

“'s

pd

Isadcr S. Mergolis, Henry A. & La Fern Martin

etc., Alpha & David C. Mandenhall, Theodor E.-

Munck, J, H, Raywond Nettleship & Mildred J, -

ge, Villiem & Anita M. Nynold, George

4
ai
ArShur Floff, Arthur E, & Elizabeth G. Ruddy.

‘72/527

Lobe

MOUGED draft of vroposed Ord. of Reference to $/™

Wie. renly of derts. to rif'e maemo. in onnos. to~

ms, for ref, to Sf.

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DATE 8 a. (0! BULINEE FROCEEDINGS .

PLAINTIFF |:

GEPENDAKRT ¢

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RETURNS

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ne ise Fid. addtni, interrogs. propounded by Fallbrook
we gs 3

Pub. Utility. Dist. ‘to be ans. by pif,
Fla. Let ter dated 4/3/52 fro J. Weinberger to!

J, Yankwich re- conditicn ‘cal. & suse ‘esting.

assignmens “another” Judes: for case plus repli y-

5 AP Ta ANSWER ~ ‘deft. Ione’ Bradfor

G2) Pld. ANSWER of deft. Peter 5. Weteel Jr,

|Fld. ord .transfrg. case to cal, of Judge

""Iheon F “Yankwich pure, . to Rule 2.
Fld. ANSWER of deft. Craz £.- Reyes, - oe
ape Fld. mo, & not. of mo, retole. 4/28/52, 2;00 PMJ

jeert. defts, Fla, affid. of Phil D. Swing, Fld.

|

it o reconsider & vacate ord, for: sep. trials for.
}
i

“memo of pts, & auths. in support of seid mo. _

i/9 58 Fld. ANSWER, of defts. Searl Bros. a partnership,.
vos J) | @ Edgar’ L., Harry O., Floyd Ley Gearld Bay. a/k/a

aT Gerald Ernest, & Lorena G, .Searl.

|Fld. ANSWER, of deft. Chalma &, Bailey.

Anse Fld. plf's objecs, to. interrogs. No. 1, Fld, plf's

objec s to interrogs. No. 13.. Fld. Plf's objecs.| to
J Anterrogs. Nos. 28,:29, & 30, Fld. plf's mo. &

‘ord, thereon extending time for rlf. to file

‘objec..to mo. to reconsider & vacate ord. for

sep, trials for cert. defts. fld, by deft.

‘Fallbrook Public Utility Dist. Fld. not. .of

‘hrg. on objecs. to interrogs. on 4/28/52, 2 PM.

tfi5 (5e Fla. ANSWER. of defts. Oliver P. & Katherine F.

\Ensley,Fld. mo. & ord, thereon extending time fpr

deft. Fallbrock Pub. Utility Dist. to file stmt,

ian oppos, to plf's objecs. to interrogs. & to fhle
answering memo cf pts. & authe,

4/16/52 Fld. plf's memo in opnos. to mo. to reconsider

& vacate ord, for seo. trials for cert. defts.

| Pla. affid of service by mail of said memo,

- LAT/52 Fld, ANSWERS to Suppl. Interrogs. of deft.

_ Fallbrook Pub, Utality District Fld. 2 vols of

‘tables & ‘maps,

< Fld, defts. reply memo (ROT NEMEC PARAM auths

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it
| ss
ML

vOneT SICapY. CHONERE SUT yO SHUPTOR oat SOT poor
"Bae Séentinua tion Sheet}

Case 3: 5 1-¢ -cVv- /-01247- i0- “SBC. “Document 7 “Filed 01/25/51 Pageib 53° ‘page 58 ‘of 68"
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DATE. - : - FILINGS—PROCEEDINGS =
Cont! a. ; : oo . . PLAINTIFF DEFENDANT [|
va ENB/5e fon me, to vacate ord, for separate trials,
/U/ei/s2 | Pld. ANSWER of deft. Herold J, -Gaston,
‘4/21/52 -| Fla. stmt. of reasons opposg. nlfte. objection’ -
wo Tete interrogatories of Fallbrook Public Utilit

Dist. with its anse. memo-of: pts. & auths,

oes.

SE.
“Fld, ANSWER. of defts. Fred By -& Marte. M,

“Patrisok, ¢

“| Ent. ord, that no. oF deft. “Fallbrook. Public

‘Utility District to reconsider & vacate Court! |

rd.,:ent. 3/31/52 directg.- sep. trial for ea,

a

of. defts. Fallbrook Pub. Utility Dist. & Santa:

“| Margarita Mutual Water Co. stand submitted w/o-

oral hrg. int. fur ord. denyg. said mo.

—Ufs26/52) Fld, ANSWER of defts, James.& Marguerite H.
«| Anpléo, Fld ANSWER of defts Obed E. Smelcer.

Ent. vros. hre. & ord, denyg. mo. of defts.

Faulkner & Thurbers for ref. to S#H-.

|Ent.. procs, hre, & ord. sustg. objecs. Nos,

|1, 13, 28, 29 & 20 of plf to-interrogs. -

Ent. procs. approve. stin. htr. fla. 11/30/51.

between nlf & Btate of Calif.

Ent. procs. & ord. on stip. of ccunsel that

deftse. have to & incl. 7/15/52 in which to

answer. Ent. procss. & ord settg. case for a

pre-trial hre. on 7/8/52 , 10 AM.

4/30/52 |Fld, ANSWER of defts. Rudoloh J,-& Vita Elliott
__|Brown,Fldad, ANSWER of defts, Ida M; Coburn.

Ne Fld, ANSWER. of defts. Amorita N. Macy.

(5/3/52 |Fla. ANSWER John A; Cantarini etal,

5/2/52 | Pla, ANSWER of deft, Alfred E, Gilbert,

5/5/52 |Fld ANSWER of defts, James I, & Margueite

B, Easley.

5/8/52 |Fld, ANSWER of defts. Lislie W. & Gertrude F.

Hoopes. Fld, ANSWER Of Thomas Wilks.

5/12/52 |Fld. ANSWER of defts, Frnest-& Gertrude L.
Jenswein,

5/13/52 | Pld. ANSWER of deft. Raloh O, Bane,

5/13/52 | Pld, ANSVER -o dlewdine eundpa) aqe-wouyed pi nia

D. Cc. NHONCINSUNUPY SPIO Soy PUL see PyOreN SUT JO Sourploy ayy way poonpormMs gy

Case 3Si-0.01247-30-SBC Bocument'1 “fied O1/2sisi Pagelb. 84’ Page’Sa of 6

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* PLAINTIFF DEFEDANT
“ANSWER of deft, John Edward Ca ral, : : I ob |
-ANSWER of deft, Angeline #nna Can wal: | a |
ANSWER of deft Sina EB. Caine oe | bo |
ANSWER of deft, Dolores Connell, ee oot oh
SSS ANSWER of deft. Ernest CG, Cook, | dE
. ANSWER of deft. William Cook. ©"

75,

i) ANSWER of deft. Arthur H. Cooper & Angy F

“. ) Cooper, . .
“S7T3 {52 Fld. ANSWER of Geft, Probert W. Dager.
“5 /s ee Fld. ANSYER of deft. Mary Jefters Dager.
5/13/52 Fld, ANSWER of deft. Edith M, Denio.
513/52 Fld, ANSWER of deft.. filmer B. Denio.
5/13/52 Fla. ANSWER of deft. John J.. Gammell.
“5/13/52 Fla. ANSWER of deft. Alda W. Gammell. |
5/13/52 Fla, ANSWER of. deft. (Evaline) Evelyn Gibbs

Tl" & Willian 8, Gibbs.

5/13/58 Pld, ANSWER of deft. Frederick 0. Gilbert &
"Mand G. Gilbert.

5/3/52 Fld, ANSWER of deft. Alfred. P. Helbin,
+

Tt
5/13/5 2 Fld, ANSWER of defts. Kenneth L. & Nellie J.
| Howell. .

5/13/52 Fld, ANSWER of deft Mary Elizabeth Hubvard, Degeasel.
5/13/52 Fla, ANSWER of deft. Melvin CC, Jones.

5/13/52 Fld, ANSWER of deft. Agnes A, Langstreat.
5/13/52 Fla, ANSWER of deft. Henry Langetraat

5/13/52 Fld. ANSWER -of deft. Adelbert C. McKinney

5/13/52. Fld, ANSWER of deft. Eldridge R. & Clara N.

_ MacLeod,

57 152 Fld, ANSWER of deft. Fred ©. & Hazel K. Nielsen.

ld, ANSWER of deft, Mabel D. Ong.

FF
5/12/52 Pla, ANSWER of deft. Maybelle Orr.
F

Fid, ANSWER of deft. L. W. Otto & Vidella M,

5/13 3/52 Fld, ANSWER of deft. John & Socorro Rodriguez

5/13/52 Fld, ANSWER of deft Thomas L. & Jeannette Sager.

5/13/52 Fld, ANSWER of deft. George Arthur Stites.

EAA 2 Fld. ANSWER of deft. Katherine Jean Stites.

5/13/52 Fla, ANSWER of deft. De Corsa ge) woe ee & Ruth

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“Case 3: 51- CV- /-01247- JO- SBC ‘Document 1 Filed 01/25/51 PagelD. 55 Page 55 of 68

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_ DATE FILINGS—PROCEEDINGS Tannin oaneNbany EMGLUMENT
25/13/52 "| Fle. ANSWER of dert.. Dorothy Weiner: - ae] ®
5/3/52 | Fld, ANSWER of ‘deft. Hy Weiner |. a
5/13/52 .| Fld. ANSWER of dert. Gladys E.: Woodbury
“3 A3/52 "| Fid. ANSWER of deft. William Samuel Woods.
3/13/52 | Fla. ANSYER of deft. Mary Elizabeth Woods.
3/13/52. | Fld. ANSWER of deft. K. W. Young.
3/13/52 | Fld, ANSWER of deft..Althea.L, Zaiderss.
3/12/52 | Fld. ANSWER of deft. Charles Zimmerman & Emma .
oe Zimmerman,
“3/lu/52 | Pld. ANSWER of deft; Georgia E. Ott.
a Fld ANSWER 6f deft. Edward L. & Mary.E, Haire.
" Fld, ANSWER of deft. Georgia Lewis Hartman &
Carol Lewis & Walter X. Lewis. Fld. mo. of
defts.. Cosette S, Garn ner & Jack Garner to.
dismiss & make more definite. Fld. written
statement in supt. of & memo, of pts. & authos,
on motions of Gefts. Cosette §. Garner & Jack
Garner'to dismigs & for more def. statement.
Fla, mo, of Gefts. Michigan Mortgage Co. a cord.,
Georgia B, Recek, now known es Georgia FE, Bretd:
William E, Starke & Cecilia G: Starke to dismids
& make mo, Gef, Fld. written statement in sunt.
of & memo. of nts. & auths. on mos. of Michigan
Mortgage Co., a corp., Georgia B.Bretz; Willian
E. Starke, & Cecilia G. Starke to dismiss & for
more der. stetement.. Fld, mo. of.deft. Tommy
Rewson to dismiss & make more certain,
> /L5/5e| Pid, ANSWER of Delts. Leslie Scout, Beatrice
Scott, Willard R., Scott & Irene Seoti.
S/i5/5E/Pla, ANSWER of defts. George L. & Frances E,
 |dones.
‘Case 3:51-cv-01247-JO-SBC Document 1 Filed 01/25/51 Pees se Page560f68

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IT oo
or nltf, to 5/26/52 to
Tem oo 2 : + ooo és
rorny Rawson to Gism, & make more-certain.

gustaining objs to cert interrogs.

5/20/32 Fla. 4 affids of svce of mo. & ord, extendg.

t

'time for plf. to file reply to mo. of defts.

Garner to dismiss & make more def. & cert.

5/27/52 Fld. ANSWER of deft, Wilber ©, Whitney.

5/28/52 Fld. memo. of plf. in reply to mo, of defts, Garner

to dismiss & mo, to make more def, & certain.

| Fld, affid. of service by mail, Fld. memo of

pif. in reply to mo, of deft. Tommy Rawson to

dismiss & to make more def. & certain.

Fld affid of serv. by mail, Fld memo of plf in.

_reply to mo. of defts. Michigan Mortgage Co., a

corp., Georgia B, Recek, now known. as Georgia.

_B. Bretz, Wm, E, Starke & Cecilia G. Starke to

dismiss & make more def. & certain, Fld affid..|

of serv. by mail.

5/29 152 Fld. Order Denyg. Mos. of. defts. Faulkner &

| Thurber for ref. to S/M, Joined in by deft.

Jas. 0, Aldrich & 76 other defts. Fld. affids

i of service,

6/2/52 Fld. ANSWER of defts,. Joe & Helen C. “Rhe ingans.

6/9/52 Fld, ANSWER of defts A, & Esther Loveberg.

tw Fld, ANSWER of defts. Loraine L. & Everelda C.

Hoff
Black,

“os Fld, ANSWER of defts. C. Norman & Dorothy Hick

" "| Fld, ANSWER of defts. Leo E. Gassman,

i Fla, ANS SWER of de fts. hws nase Deaseimuned wale
: HUOHUA SHENAE BENak BHO paai

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( See continuation sheet)

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Cont'd : a oO so, So | PLAINTIFF DEFENDANT | | RETURNS

6/9/52 | Fla ANSWER of defts. Clarence Nicklos Latz..

" "  . | Pld, ANSWER of defts Margaret Ethel Latz.
ww Tria, ANSWER of defts. Marjorie Doris Latz San-
Te Pedro. : me ao
MWe PL ANSWER - of Gefts, Adele Burch.
," "| Fla. ANSWER of defts. Ora L. Burch,
"| Pla, ANSWER of defts, Charles H. Clark.
"WP Pld, ANSWER of defts. Lola Montez Clark.
won Fld. ANSWER of defts, Ralph E. Orr,
uu | Pid. ANSWER of defts. Alda V. Ellis. =.
won Fld. ANSWER of defts. Edith M, Wetzler. «
nu Fla. ANSWER of defts. John L. Wetzler.
wu Fld, ANSWER of defts. George W..Prigg. | | | | f._

June l2 |Fld. interrogs. of deft. Santa Margarita. Mut.
ee Water Co, to be ans. by plf.
516/52 | iia anaverh daria: Biwin W. and wnnie wands
Charles F. and Lina S, Hofeldt,
1/20/52. | Fld. interrogs. of deft. Tommy Rawson, Fld. mo.| &
|not. of mo. of deft. Fallbrook Pub, Utility
District for fur, answers & to make the answers|
given to interrogs. more specific, retble 7/8/5
_ }2;00 PM, Fld. written stint. of reas ons in suppt)
|of mo, & memo of pts, & auths. upon which movin
parties will rely. Fld. interrogs. of defts.
Cosette S. & Jack Garner, Fld, ANSWER of deft,
a, John W. & Emma A, Beek. -
6/23/52 | Fla, ANSWER of defts. Eleanore F, & John G.
Hoffacker. Fld, mo, & not, of mo, retble. 1/8/5e
2:00 PM for leave to amend intervenor's Answer,
6/24/52 | Fld. ANSWER of defts. John D. & Ida Nehen,
6/25/52 | Pld. ANSWER of deft. Chas. F, & Lina Hofeldt.
6/26/52 |Fld ANSWER of defts, Alex L. & Lily Arnold.
Fld mo. & ord. thereon extendg. time to &
ine). 7/14/52 for plf. in which to ans, or objedt |
to interrogs. Fld. 4 affids of svce by mail of [said | >.

tw

bess

mo. . .
6/27/52 | Fld, ANSWER of deft, Edward Porter Major, Il. ot

Fld ANSWERS to interroys, of deft. Santa Margarfta

MD.  T10 [Miah waad AAet nara)

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PLAINTIFF

_ DEFENDANT .

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fer /5e. ‘Mut. Water. Co. Fld, “Vol. ‘L Maps. Fld You. Ir,

Tables 1-17; inch, FId, af fia, ot svee by
“mati. . : _

24 teeta eae

th. 152, 2: Fld, “VSWR of John ‘Owens, Elta G. Owens; 3

A ‘Frank Puctllt, “Anna ‘Somacal & George M. Jones.

. vr Fld ANSWER of Mary Rose Liedke. Fld. ANSWER -
! ‘of Walter AL Liedke, |

: Te -Fld. ANSWER. of. deft.Inita!M: Mahr.—
a Ho Evelyn Ambriola -

he _-. Tris 6, Shapiro

Fla addtl & suppl interrogspropounded - by Fallbre

ok

Pub, Utility District to be am by plf.

1/8/52, Sint proe_on_pre=trial_hearing, _and_ent order

ing

\. eentg-to-July-9th,-1952,-further pre=trial hear

ty

cont

«1/9/52. -proc_on: further pre-trial hearing and ord
_to July 10th; 1952 further pre-trial hearing.

Entdr

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“Toner aL owiog_alt. defitts_wio have not answered
7A, LG52é, to answer or appear.

7/10/52 Pid amd of the People of the St_of Calif, deft in

ry,

and .e

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to intery answer. Ent procs fur pretrial hr¢g

‘set

ord contg to 7/11/52 for tur hrg on interrogs

cause Lor trial anf for view of premises. (Y).

7/11/52 - Bt, procs fur hrg on interrogs: settee cause

Tor

Jtrial and on view of prem_and ent ord settg for

trial

Ca

10/21/52y,and viewed premsese,

! Fld answer deft A.T.SeFeRyY Co; answer defts

Phas.

_B._and Lola Vay Withrow;-answer of deft Albers: Mill;

ans

to

_| answer deft Julienne Vaasa Robinson. Fld pifs

.-Anterregs of deft Tommy Rawson, Cosette S, and
> Jack Garner. Eli plfs_ response to mot of deft!
Pub, Ut. Dist for fur _ans_and to mic ans given

o_int

[Fallbrod

| MOR S | apecifié.

Fidatrhd of service by mall of answer to

Tie /e2

a literrorcatories of defts Cosette S, Gamer and

Jack

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“Case 3:51-cv-01247-JO-SBC Document 1 Filed 01/25/51 PagelD. 59 Page 590f68

US -v, FALLBROOK
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PLAINTIFF .') |..;DEFENDANT |° RETURNS

TAL 52 Fld mot & ord thereon to incl addin. parties=dets
Eee Pe / : . et
Iesd_sumg,

2/22/52 | Pid ANSWERS | to additional interrogs propounded |*

by Fal Lbrook Pub. Utility Dist. to be_ana, “byt
pir, : _

— 8/15/52 Ent. procs. (¥) discussion pretvlal matters: \ b=} ‘pers

Ent, ord contg,. 8/25/52 for presentation

pretrial ord, & for determ matters ‘to be briefed.
..f25/52 | Fld pltfs questions of law requested to be

determined of defts in advence of pre-trial.

Fld stmt of obj, of State of Calif., deft in

intervention, to draft of ord on pre-trial hrg.|,

Fld order on Pretrial Hearlrg plus Exhibits. .

| Ent. procs. (Y¥) hrg. on presentation pretrial .

lord, & determ, matters to be briefdd. Ent. ord.

govt. file brief by 9/15/b2 & dfts file reply

by 10/6/52; & that govt. furn dfts with all

addtl. proposed exs within e weeks.

o/t/52 |Fid; ANSWER of deft Ross D, Swimm,

3/5/52 | Fld. ANSWER of defts. Harry H, -& Mary Smelser

ou" Fld ANSWER . of defts Roberta L. Culpepver &
: Leora M, Buck,
"oo" Fld_ANSWER of defts Gertrude &. Crabtree, Anhie

Hostetter, Thos. Gale Knight, Marshall W.

Knighi,. W. E, Knight ( deceased) Emma Bateman

Perry, Catherine Sneed & Mattie S. Thompson,

1/6/52 (Fld ANSWER of Defts Josephine Frakes & Dwight.

LL. Frakes, Ent. ord defts hv. fur extension

time to answer compl. to 1/1/53.

9/9/52 | Fld plf's Exbs Nos,.4,5,10, 11, le, 13, 21, 22) & 24

being exbs attached to Pre-trial Stutement.

9/12/52 | Pla plf's Exbs Nos, 15, 16, 17, & 3 beine
, cxbs attached to Pre-trial Statement,

9/15/52 |Fld, ANSWER: of deft. Hank of America Natl.

Tr. & Svge. Asean. Pld plf's Exb. No. 35 to

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pre-trial outmt. Pld ord extending time to

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Case 3:51-cv-01247-JO-SBC Document1 Filed 01/25/51 60 Page 60 of 68

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‘Margarita Wut.

DEFENDANT

“that counsel ‘tor. defts

Santa,

‘Vater » OO,

Fallbrook iPub, !

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9 ns (se Pla Disclaimer 3 fosepti he
‘ 2 £19 1/58 Pid ANSWER . of

Watitins, ao | oo uo ee, SS . ‘ . . che oe ay mo

Defts. James. C.

o/h fie. Fld ANSWER of deft. Earline Thompson,
“Pld ANSWER of deft. G. H. Thompson, |
9/19/52. Fla plfis brief-in regard to. questions propounded

trial...

-¢o eourt in udvance of

9/23/52_F1a_ affids of service by tail.
GLY

oy! ag

158 Fla ord transferring trial. to Los A.gele in Churterom 17
to defts Fallbroot Public ULL ty District,
&" Btate : of Cait.

i Banta Mar ‘garita Mutual, Water Co.

ase Ae Pcl ANSWEK. OF de Ps Domenick Epnoiito, “John. ‘N

Pid ANSWER of Rhoda. K,

nod Theresa Tenol iio

a We] yy
Lf 1/52 Ba. oot (Y) Gefts Fel] means Santa Ma eens ta
Mu a Waber Co, & State of Cel iP _hw un kil 10/4 q 52
bo Pile peetrial briefs,
10/10/52. Pla. not_of_mot_of Fallbrook Public Utility Districtifor

_ continuance,

‘Pla affid of Phil D. Swing 1n support] ©

__of mot of Fallbrook Public Utility Dist. for «cs

we ntinvance.
| Fld pts & auths in support of mo of Fallbrook P

ublic Utility

| District for a continuance,
10/13/5 52_Fla_plr's pts_& auths—in oppos_to_mot_of Fall
oe ___Publia Utility District for_a continuance.
- 1LO/i4/s2 Fla brief of the People of the State of Calif} on
questions proposed. to the Court in. advance of trial.
10/5/32 EA. deft. Santa Margarita Mutual Water Co's. reply
to pifs "Brief in regard to questions prop. to Cth
advance of trial”. Fld brief of deft Fallbrook
Public Utility Dist. in regard to questions prop -

brook

to Ct in advance of trial.

10/17/52- _Fla—affid—of. Max Bookman.in. support_of_mbt of
| Fallbrook Public Utility Dist. for continuance.

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‘Case 3:51-cv- -01247- -JO-SBC ‘Document 1 “Filed 01/25/51. PagelD. 62. Page 62 of 6 :
USA v. FALLBROOK Lau7-80

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. : . ve " PLAINTIFF DEFENDANT . RETURNS

Continaunce. _Ent_procs hrg mot. ‘of “deft:
Fallbrook Public Utility-Dis Erict fo: avoomtinte | _.
ance & ord denyg. except that 4 instead. f procesdg._ to ee
‘trial _on 10/21/52 case is ord cont to’ 10/29/52] 10 AM.
Ent procs hrg mot of” deft’ Fallbrook ‘Punlio. “Utility District to |reconsider
& vacate ord transferrg trial to Cen. Div. from So, —[
. | Diy. & ord denyg. Fld .mot to. reconsider, 6tce -
0/22/52 | Fld opinion on pretrial ques tions & furn copy- tio

cond) | mot of: Fallbrook Public Ubility ‘Dist. tor

lattys.” ” .

10/29/52] FH ce of ord of CA: arntg leave to Bali brook Publ
Utility Dist. to. file vetn for 0. .c. & that
respdts show cause on or before: 10. das from

10/28/52 why writ of mandamus or writ of prohi- -

bition should not. issue dir. respdts to. refrain. oe

from taking any fur steps to try casé against.
aft Fallbrook Publ. Utility: Dist. & that respdt

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make & enter ord vacating ord of 9/29/52 for +

transfer of action as to aft Fallbrock from Sou, _
Div. to Gentral Div & staying action wntil oO

Gecision upon 9.8.0. Ent oma (Y) conte case ns lo fo
to df% Fallbrook Public "tility District to

11/18/52. Fld teletype from C4 of App to Dist

1Ot. Lodged cert pretrial exs.6,M.M. Water Co. a _ fA

Ent ord trial proceed as to Santa Margarita
TMutual Water Co. & State Calif, at Los Angeles.

Ent prees. trial as to State Calif. & B.M.M.
Water Co. Fld exs. Ent ord conty 10/20/52 fur

trial. — . . _ |

0/20/52 Ent pvroes fur trial S.MM Water Co, & Stats —|-——-- abe pe
Calif. Ent ord conte 10/31/52 fur trial, fp

/31/52__|mnt procs fur trial S.M.M. Water Co. & State | | _
Calif, Ent ord contg Nov. 4 fur trial. : |__| —_—
11/5/52|Ent procs fur trial S.M.M. Water Co. & State off - tof
. Galif. Ent ord conte 11-6-52 fur trial. — . — {

“T7176 7/52" pent proce far-triadcd fteS.M.M. Water Co. « | |

state Calif. Ent ord conte 1l1l-/7-be fur trial.
11/7/52 [ent procs fur trial S.M.M. Water Go, & State of] - ff

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Die at only to 12/2/52. for trial, inetend. “of EAB /52s ake

Ling /se| Bat “pros” fur! trial {Me
- Calif. Ent ord” conte”

11/19/92 fant. proc ‘fur trial, ~ 3oM, M. Mater. Co. & State of -
Galif. &nt ord contg 11/20/52" “fir trial. ot

ys at proc fur trial. SM. ‘M. Water Co. & STate of

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‘Galif. Ent ord conte 11/25/52 . fur trial, Ent. or

““grantg dfts who hv not appeared until TIFT I 5S. AD

‘ans, & no defaults to be taken before that date},

11/25 /58bat proe fur trial afte S.M.M. Water Go, & State

ok Yalif. Bnt ora. conts 11-26-5e nat 1 PM, fur trial.

u/s 6/9 prac fur trial 5. Mil. Vater Co-& Stave of:

Oelif. Ent ord) conte . 12/26/52 at 9:30 AM for fu
‘riel. es OE

UL /es/s8ent proc ‘fur trial as to S.M.M. Water Go. & State

of Calif. Ent ord #td submitted, Ent ord conte,

from 1e/2/5e to 12/9/52 for trial as to dart

—Rallbrook Pub Util Dist.

12/8/52int ord contg cause as to dft Fallbrook Pub

Utility Dist frow 12/9/52 to 12/30/52 for trial,

Notif attys.

12/4/62. Fla aft Fallbrook Public Utility Dist's afi
of Bias & Pre).

12/8/52. Fld ord cont mot for disqualification to 12/30/be2

von affid of prej.

12/9/52 | Fld opinion & fld ord for findgs & jgmt quieting
_ title govt on the merits as to SM Mut Water Co.

& State Calif.

12/30/52 > Ent proc hrg oral mot dft Fallbrook to disqualify

Judge Yankwich. Ent ord (Y) denying mot, & ords-

‘Clerk to strike affid of prejudice fld 12/8/52.
sa aff 1s stricken. Ent ord contg to 3/3/53. for

“trial as to Fallbrook Public. Untility Dist. Ent
‘lord dfts 5.M.Mutual Water Go & State of Calif h

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USA v ‘al lbrook

Pacific Region (Laguna Niguel)

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. 1/20/53

Fld. ANSWER of. att. Shgnes” on Bothell in pro per.

‘121/53

Fld, aktd &. ‘ent.ord on ‘mot. ‘of plf dism compl a
to dfts: Emilie’ f.

‘lrelates to’ Vandi: "desoribed:: “ined. dism. 2

Anpend.t ‘etal insofar.-as same.

2/7 53

Fld not of. appeal of. Santa Margarita Mutual Wat

Co & State “of Calif: ‘fron. “oninion on the. meritd

as to certain parties" & “order” ata 12/9/52, §

mid_ copy. “tO William Veeder, Special. Asst ‘to the

Atty Gen, c/o Gonmander Raymond DeS. Shryock, ©

llth Naval Dist, San Diego. Fld Undertaking for

Costs on peal

2/10/53 |

Lodged govts prop findgs ete & jgmt as to aft

S.M.M. Water Co & state Calif. Lodged prop

amenamts. by State Calif & S.M.M. Water Co. to

|govts prop findgs

ete, Ent ord (¥) dfts State

Galif & S.MM. Water Co hv until 5 pM, 2/20/53

to file addtl objs to govts prop findgs etc.

2/16/53

Fld subst of Devor & Dorfman in place of Kenneth

K,. Wright as attys of rec for Dolores Costello

Vruwink.

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2/20/53

LODGED prop smendnents to finds fact, conel law

& judg prop by pif on 2/10/53.

2/24/53

Fla ord concerning findgs & jxmt as to SMM

Water Co.

2/24/53

Fld letr 2-21-53 State Calif to Gt re not of appl.

2/25/53

Fld 2/24/53 finds fact & conc] law. Dkta & ent

| judg determining water rights as

between USA &

Vail Est as per jgmt of Sup Gt of Calif, San

Diego County, of le a/e7/uo, « fur determining

water rights of USA against S.M.M. Water Co under

4ts applications of 1O/U/h6 & 11/12/47 & as to

aft in. intervention State of Calif; « fur ord

this judg constitutes partial adjudication of

claims & is subject to revision & will not becq

final until claims of S.M.M. Water Co. & Fallorc

Public Utility Dist are finally determined. Not

actys.

3/2/93

Ent ord vac trial ae tte. 3/3/53 as to “art F Fal Lbrool

& ent ord resetty trial sd dft “W/26/53. Ent ord

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3/24/53

3/27/93.

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oo Tapp: ésig. of. Portions of Tec, ete, to b
ws rec” on ‘appeals gS
3/12/53 Fla: ord ‘that appelle, USA hy until 1/753 to fi
‘ldesig ‘of addl portions of reé on anneal & ext
_{ time until AAS 153 to file the_ rec & docket the
anneal. °
Pld plt!s mot & not OF mot retble. WETS, to. revis
|jgmt dktd & ent 2/25/53.
Fla cert eny of opinion of Judge Denman. Sf

Ent ord(Y) vacatng trial settg 1/28/53 as to

Jatt. Fal Lbrook ete & ent ord resettg for trial

ed. dft. T/1/53-& allowing all 4fts who hv. not:

apneared until. “@/1/53 at 5 PM to appear Ent

procs -hre- mot pif USA fld 3/24/53 to revise jem

U/1%/53) Fld ord ext time until 4/27/53 for appellants

ant 2/e5/s% & ent ord std submitted,

ei) fe Margarita: Mutual Water Co, & the Peonle

| akt the anneal,

of the State of Calif. to file the record &

Eldlehin with ond theraon disme anneal taken from

ootinion & ord of 12/6/52 by SM Mut Vater Co &

State Celif by not of apn fla 2/7/53. Pid ord

an mot fore cartif under Rute 5U(b) FROP denye

mot ple emba U/6/5% for certif under Rule 5

Rit opel senate from 747/52 to 7AIL/S*% for trial

_(* amended answer of Geo.

Fld ANSWER of Carl A,

Harmer & Edith Sarah Harmer

ve

Cummins & Meta Lee Cummins.

Rn ord olece on eal possible enntin of trial

awe 00

Fellbvrook Pub Util set for 7/14/53 8 to

hake Pied. jderint an to Santa Marzneritea Vater

Ga & Stete af Calif. Sounsel. Notified by mail

of rer on hove

TASS. 10 am before Judee

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Angeles  (¥).

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USA v. Fallbrook

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Ent procs (Y¥} hre possible cont trial as to

Fallbrook ete « bre re making final the jdgmt

of 2/25/53. Ent ord vacating trial date Fall-

brook etc of 7/4/53 & resettg for trial on

11/3/53 as to-sd deft. Ent ord all defts who

hv not appeared are grntd until 12/31/53 in wh

ue anpear. ld certif Court making jdgmt of

/25/53 as to defts Santa Margarits Mutual Wate

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Go & State of Calif final as of T/1/53;3_ & couns sel.

are furn copies,

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7/2/53. _ = -
7Leh/53 Fld not of anneal by Santa Margarit ta Mut Water 2
Co. Mid 3 copies of not to Walter S: Binns, US

Atty, 600 Fedl Bldg, L.A. 12. oe 2

Fld not of anneal of State of Galif, Mld 3 dopips Ss”

of not to Walter S. Binns, US Atty, 600 Fed)

Bldg., L.A, le. Fld stio for costs in amt of

$250 surety bond,

&/1.0/53

Pla affid of Geo G. Grover ina suppt «& ord that

Time in wh State of Calif & Sta Margarita Mut

Water Go may sv designs of record on ameal &

gtuts of pts & auths be extend to & Ano &/2u/e

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fur that time in wh record of sd appeals ch be

filed &« docketed in Ct of anpenls be extend to

& inel 9/2/53,

@/2U./53 | Pla stmt of pts on wh appellnts intend to rely
on appeal. Fid desig of portions of record,
proceedings & evid to be contained in record
on appeal. —_
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& State of Calif. _| ||
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deftes itate of Calif & Sta. oe W Mint. Water

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ntervntn State of Galit! Rg correatnk | co oo

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teal ders Fallbrook | Pub Usir Diet for ZAG/5H;
2 at! ord ex fendy time to ans sl]. deftis who hv nok |
“oneared ta 3/31/65, a.
nt ora econtg to. 11/30/5} for trial as to deft
‘Fallbrook Pub Util Dist; & grntg dfts who hv not

- Jappra until 12/31/54 to ans. Fld itr dtd 3/10/54
from. nity Baits te ot re contin. a

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1/23/54 fLa mot govt for cont trial, Fld ord (¥) vacating

trtel se tte 11/40/65 & conte trinl until 30 days
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atts hn hy tes yet anord ove pniloved
wy JIT . QL, . s . :
af SL/55. te anosar & answ,

Pent ond (Y) wLloms dtte whoo hy not vet anneared

until 6/20/55 to appear & anew,

LL /2/ 55: Ent ord that defts who have not yeti appeared hy_to

| : hel 1V31/56 in wh
__ta plead.

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Lo.

1/20-56. Fld ans of defts Car N. Halde & Hester M. Haldé.
Mint ord assian, casentoud. Carters sicnecmen

Mid ord dJudses Garber & Weinberser vacating orfior rd jof 348/40 whikh
- . Jnadvertently assigned this case to Judge Carter; $a dase tlo tle retfhined
bey Cholef dudee Yankwieh for all tur proes untdl helshealll. ial aqeord with

. Pules of this Cb, surrender same to another idee, -
5/3/56 Recta mandate from CA, mld recpt. Entd min ord] that) mandate) of Oth GCA dt
66/2/56 reversing jdgmt of this Ct to be fld & Bpread.

5/3/56 Pld, dkted & ent mandate CA revers judg of Dist Ct & reémand|to|sd ct{ with
direckions for fur proceeds with opinion of CA]/and fo @nter|no| judg juntil
adbire sait can be disposed of at the sane date,

{ran Siy-pundes) Oday StHae,]
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Pacific Region (Laguna Niguel)

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6/13/56

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Eta. ‘stip. of deft. John i. Lease re gsubstn of attys, subs

te himse dt

[27/56

in ‘pro. ‘per in place. of ‘Krag & Sweet & not thereof.

“Fla attid. of! svce by mail of not of hea on bettg ag eal

counsel |

Gethay fy

“Fla ltr ata "7/2/56 fr prop per deft Veria Vv ce ord’ fd

With dins

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9/556

this deft dtd 10/26/51 fld in Vol A-5 - answers (¥).

nt procs: settg for trial. Ord that all defts not yet wppsariine by to
“8 inel 10/15/56 in wh to ans, Fl ord trfe this cause to callol Shige
ot - | Weinberger for all fur procs purs Rule 2. All ptys ntfd. (¥)
— PLT 156 Fld .affid of svee by mail of ord 7/9/56 tufg case to cal Inde
vo ee Weinberger to all defts.& attys appearing. (7) . . .
AL ABi8 Pid substn of atty Bert Buzzini in place of idson: Abel fox detbs
oa fo Charlotte & Raymond: Faulkner,
“ 7/26/56 /Pla: disclaimer of Wm & leone Holman.
1/31/56 Fla ltr fr Peter & Bertha Meyer. .
a 13 28 Pld /AMSYER & counterclaim of WH Maria Molduway. Many lo GA!
Galdwell & Pearl Hunt (thru Atty @ D olecen ot Belt Lake Giuy)
all other defts to quiet title to their covralotive pights 4

Rule 1(a@) waived by Ct.

Pla -ltv ata 3/1/56 fr deft Gerald Lorine addressed

4 QO . J weer Q uf ay 4

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Pid ans, Counterelsim & Crogs-Vonpht at E, Maria Uoleaesy.

RI par 7

Violet Caldwell 1 & Pemrl Hunt.

9/4/56 |Fla not appear E. Maria Holdaway, Mary 1 L. Giles, Vilate Caldwell &
 |Peprl Hunt .
8/29/56 Ent. proc & ord defts who hy been svd hy until 1/15/57, Spm it oar:
8/31/54. Fld ord ext time of defts to ans to 1/15/57 6
-9/1,/56| Fld rptrs part transcript of procs dtd 8/29/56.
10-15-56] Fld ans of deft Mrs Vera Reeves Williams.
10-15-56|Fld ans@er of Deft Bessie L, Freeman. Fid ans of defts HarolH A -[&
, Marian RK. Smith. Fld ans of Deft GC, S. Hilliard Pla ans of Deft}
Mary E. Fletcher. Fld ans of Deft Wohnette L. Copeland. to
1-4-57 | Id ord transfg case purs rule ¢ to Judge Carter. - _
-~14-57| Fld ans of defts Lawrence W. Butler and Mary C. butler. |
1-15-57 Fld ord enlarging time to file ans to 4/15/57 (C). |
[-16-57 | lid ans of Glen E and Lucille Parry. oo

